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                                     2021-1154

              United States Court of Appeals
                  for the Federal Circuit

                            CELGENE CORPORATION,

                                                      Plaintiff-Appellant,

                                        – v. –

    MYLAN PHARMACEUTICALS INC., MYLAN INC., MYLAN N.V.,

                                                      Defendants-Appellees.

                On Appeal from the United States District Court for the
                District of New Jersey in No. 2:19-cv-05802-ES-MAH
                            Honorable Esther Salas, Judge

           NON-CONFIDENTIAL BRIEF FOR PLAINTIFF-
                       APPELLANT
MATTHEW J. HERTKO                                F. DOMINIC CERRITO
JONES DAY                                        ERIC C. STOPS
Suite 3500                                       ELLYDE R. THOMPSON
77 West Wacker Drive, Suite 3500                 FRANK C. CALVOSA
Chicago, Illinois 60601                          QUINN EMANUEL URQUHART
(312) 782-3939                                      & SULLIVAN, LLP
mhertko@jonesday.com                             51 Madison Avenue, 22nd Floor
                                                 New York, New York 10010
         – and –                                 (212) 849-7000
JENNIFER L. SWIZE                                nickcerrito@quinnemanuel.com
JONES DAY                                        ericstops@quinnemanuel.com
51 Louisiana Avenue, N.W.                        ellydethompson@quinnemanuel.com
Washington, D.C. 20001                           frankcalvosa@quinnemanuel.com
(202) 879-3939
jswize@jonesday.com

                            Attorneys for Plaintiff-Appellant

JANUARY 19, 2021
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FORM 9. Certificate of Interest                                                    Form 9 (p. 1)
                                                                                      July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2021-1154
   Short Case Caption Celgene Corporation v. Mylan Pharmaceuticals Inc.
   Filing Party/Entity Celgene Corporation



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


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  complete to the best of my knowledge.


        01/19/2021
  Date: _________________                   Signature:    /s/ F. Dominic Cerrito

                                            Name:         F. Dominic Cerrito
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FORM 9. Certificate of Interest                                                      Form 9 (p. 2)
                                                                                        July 2020


     1. Represented                   2. Real Party in            3. Parent Corporations
         Entities.                        Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of       Provide the full names of
 all entities represented         all real parties in interest    all parent corporations
 by undersigned counsel in        for the entities. Do not        for the entities and all
 this case.                       list the real parties if        publicly held companies
                                  they are the same as the        that own 10% or more
                                  entities.                       stock in the entities.

                                  ✔ None/Not Applicable
                                  ☐                               ☐ None/Not Applicable

     Celgene Corporation                                            Bristol Myers Squibb




                                     Additional pages attached
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FORM 9. Certificate of Interest                                                                  Form 9 (p. 3)
                                                                                                    July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
            None/Not Applicable                              ✔      Additional pages attached

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 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
            None/Not Applicable                                     Additional pages attached
 Celgene Corporation v. Hetero Labs Limited, et
          al., No. 17-cv-3387 (D.N.J.)




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔         None/Not Applicable                                     Additional pages attached




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Quinn Emanuel Urquhart & Sullivan, LLP
Evangeline Shih
Andrew S. Chalson
Gabriel P. Brier
Marta A. Godecki
Brian J. Forsatz, Ph.D.

Jones Day
Anthony M. Insogna
Cary Miller, Ph.D.

Saul Ewing Arnstein & Lehr LLP
Charles M. Lizza
William C. Baton
Sarah A. Sullivan
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                          CONFIDENTIAL MATERIAL OMITTED
         The material redacted from this brief is subject to a protective order

governing confidential information pertaining to venue discovery. The underlying

material       details     the     physical        presence        of    Defendants-Appellees               Mylan

Pharmaceuticals Inc., Mylan Inc., and Mylan N.V. in New Jersey. The redacted

material on pages 3-4, 9-15, 17, 21, 31-44, and 46-47 has been designated either

“Venue Discovery Highly Confidential Information,” “Outside Attorneys’ Eyes-

Only Venue Information,” or “Highly Confidential” by Defendants-Appellees

Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan N.V.


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                     STATEMENT OF RELATED CASES
      No related appeal has been decided by or is currently pending before this

Court. Celgene Corp. v. Hetero Labs Ltd., et al., No. 17-cv-3387 (D.N.J), is

pending in the U.S. District Court for the District of New Jersey. In that case,

through an order that was applied by stipulation of the parties to the action

underlying the instant appeal, the district court dismissed defendants Mylan

Pharmaceuticals Inc., Mylan Inc., and Mylan, N.V. That action continues against

the other defendants in that case and no final judgment has been entered.




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                               INTRODUCTION
      This is an appeal from the U.S. District Court for the District of New Jersey

(Hammer, M.J.) in a patent infringement action stemming from an Abbreviated

New Drug Application (“ANDA”) filed with the U.S. Food and Drug

Administration (“FDA”) to sell a generic version of the cancer treatment drug

Pomalyst®. Appellant Celgene Corporation (“Celgene”) developed, markets, and

sells Pomalyst®, a drug in the form of pomalidomide capsules used to treat multiple

myeloma, and holds numerous patents for the drug.           The Appellees here—

defendants Mylan Pharmaceutical Inc. (“MPI”), Mylan Inc., and Mylan N.V.—

regularly develop, market, and sell generic versions of brand-name drugs. In 2017,

the Mylan defendants submitted an ANDA for a generic version of Pomalyst®.

      Following venue-related discovery, the district court dismissed foreign entity

Mylan N.V. for failure to state a claim pursuant to 35 U.S.C. § 271(e)(2) and

dismissed MPI and Mylan Inc. for improper venue. In analyzing the adequacy of

the Complaint under Federal Rule of Civil Procedure 12(b)(6) as to Mylan N.V.—

a foreign entity as to which venue was admittedly proper—the district court held

that documents contradicted Celgene’s allegations that Mylan N.V. submitted the

ANDA, and it disregarded allegations that Mylan N.V. would benefit from the

approval of the ANDA. In analyzing venue as to MPI and Mylan Inc. under the

patent venue statute, 28 U.S.C. §1400(b), the district court concluded that each
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entity lacked a regular and established place of business in the district. These

holdings were in error.

      As to the dismissal of Mylan N.V., the district court applied an erroneous

and unduly restrictive definition of the term “submit” in the context of an ANDA

filing. See 35 U.S.C. § 271(e)(2) (“It shall be an act of infringement to submit . . .

an application under section 505(j) of the Federal Food, Drug, and Cosmetic Act or

described in section 505(b)(2) of such Act for a drug claimed in a patent or the use

of which is claimed in a patent.”). This Court has recognized that a submitter may

encompass more than the entity listed on the ANDA filing itself. Celgene alleged

sufficient facts as to Mylan N.V.’s coordination with the other Mylan entities to

develop, market, and sell generic drugs and as to Mylan N.V.’s future involvement

if the ANDA is approved. Celgene—which could not have known when it filed its

Complaint (prior to discovery) exactly which entities took what actions in relation

to the ANDA—alleged that each of the three Mylan defendants prepared the

ANDA filing and would benefit from its approval. The district court thus erred in

holding that the fact that MPI was the sole named ANDA applicant foreclosed any

possible claim against Mylan N.V. At a minimum, the district court abused its

discretion in denying Celgene leave to amend to add allegations regarding Mylan

N.V.’s role in preparing and submitting the ANDA.




                                          2
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       As to the dismissal of MPI and Mylan Inc. for improper venue, the district

court erred in concluding that MPI and Mylan Inc. did not have regular and

established places of business in the district. See 28 U.S.C. § 1400(b) (“Any civil

action for patent infringement may be brought . . . where the defendant has

committed acts of infringement and has a regular and established place of
                                              venue
business.”). MPI has more than a discovery employees in the district. As part of their
                                                                                                                 venue
employment, MPI employees must rent a physical space in the district to discovery
   venue                   venue
   discovery       . And discovery employees list their                        confidential venue discovery           in
                                                                                                              venue
the district on their      confidential venue discovery       . Likewise, Mylan Inc. has discovery
                                                                   venue
employees in the district who have established                     discovery         from which they carry

out essential functions for Mylan Inc. MPI and Mylan Inc. each have both a stable

physical presence and agents in the district, which is sufficient under this Court’s

precedent.       The district court’s evaluation of the relevant venue facts was

erroneous and contravenes this Court’s guidance. And, in any event, venue may be

imputed to both MPI and Mylan Inc. based on the Mylan affiliates in the district,

and venue is proper under the general venue statute, 28 U.S.C. § 1391, to the

extent it applies to forward-looking ANDA infringement actions just as it applies

to declaratory judgment actions.

       The judgment of the district court should be reversed.




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                           STATEMENT OF JURISDICTION
       The district court had jurisdiction under 28 U.S.C. §§ 1331 and 1338(a). It

entered final judgment on September 25, 2020. Celgene timely filed a notice of

appeal on October 23, 2020.             This Court has jurisdiction under 28 U.S.C.

§ 1295(a).

                                STATEMENT OF ISSUES
       1.        Whether the district court erred in dismissing Mylan N.V. for failure

to state a claim for patent infringement under 35 U.S.C. § 271(e)(2) or abused its

discretion in failing to grant leave to amend—on the basis that Mylan N.V. was not

listed as the ANDA applicant or the sender of Mylan’s written certification for that

ANDA.

       2.        Whether the district court erred in dismissing MPI and Mylan Inc. for

improper venue based on its conclusion that MPI and Mylan Inc. lack a regular and

established place of business in the district even though both entities have long-
                                                                                                    venue
term employees in the district, MPI requires its employees to venue
                                                              discovery Mylan                       discovery

                                                                                                      venue
in the district, employees list their             confidential venue discovery           on their     discovery

                                                                  venue          venue
    venue
    discovery      , the employees’ actions resulted in discoveryof              discovery   of dollars of

sales in the district, MPI and Mylan Inc. are presented to the public as part of “One

Mylan” with other affiliates having a physical presence in New Jersey, and venue

would be proper under 28 U.S.C. § 1391.



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                           STATEMENT OF THE CASE

      A.    Mylan’s Application For Approval To Market A Generic Version
            Of Celgene’s Pomalyst® Drug Product Throughout The United
            States
      This is a Hatch-Waxman action arising out of the Mylan defendants’

submission of an ANDA to the FDA, seeking approval to market generic versions

of Celgene’s Pomalyst® drug products (the “Proposed Products”), before certain of

Celgene’s patents covering Pomalyst® expire. Celgene holds approved New Drug

Application (“NDA”) No. 204026 under Section 505(a) of the Federal Food Drug

and Cosmetic Act, 21 U.S.C. § 355(a), for pomalidomide capsules, which it sells

under the trade name Pomalyst®. Appx117. Pomalyst® is an FDA-approved

medication used for the treatment of multiple myeloma. Appx117. Celgene holds

numerous patents covering the methods of use and administration of

pomalidomide, pharmaceutical compositions composing pomalidomide, and solid

forms (or polymorphs) of pomalidomide.1

      In February 2017, the Mylan defendants submitted ANDA No. 210275 to

the FDA, seeking approval to commercially market generic versions of Celgene’s

1 mg, 2 mg, 3 mg, and 4 mg Pomalyst ® drug products prior to the expiration of

1
    United States Patent Nos. 8,198,262 (the “’262 patent”); 8,673,939 (the “’939
patent”); 8,735,428 (the “’428 patent”); 8,828,427 (the “’427 patent”); 9,993,467
(the “’467 patent”); 10,093,647 (the “’647 patent”), Appx133-153; 10,093,648
(the “’648 patent”), Appx144-173; 10,093,649 (the “’649 patent”), Appx174-192;
and 10,555,939 (the “᾿5,939 patent”).


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certain of Celgene’s patents. Appx115-116, Appx2322-2327. Mylan’s ANDA

contained written certifications to the FDA made pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) (“Paragraph IV certification”)2, alleging, inter alia, that the

claims of the ’262, ’939, ’428, and ’427 patents are invalid, unenforceable, and/or

will not be infringed by the activities described in Mylan’s ANDA. Appx120. On

April 6, 2017, Mylan sent written notice of its ANDA to Celgene in New Jersey.

Appx122, Appx1808. This notice alleged, inter alia, that the claims of the ’262,

’939, ’428, and ’427 patents are invalid and/or will not be infringed by the

activities described in Mylan’s ANDA. Appx122.

      Celgene filed several actions in the District of New Jersey alleging that

ANDA submissions for approval to market and sell generic versions of Pomalyst®

infringed its patents. Celgene filed its first action in New Jersey on May 11, 2017,

asserting claims for patent infringement against the Mylan defendants and other

manufacturers that had similarly submitted ANDAs seeking to market generic

versions of Celgene’s Pomalyst® drug products, captioned Celgene Corp. v. Hetero

Labs Ltd., et al., No. 17-cv-3387 (D.N.J.). Appx40.




2
    A Paragraph IV certification states that a patent associated with the drug for
which the applicant seeks approval to market a generic version is “invalid or will
not be infringed by the manufacture, use, or sale of the new drug for which the
application is submitted.” 21 U.S.C. § 355(j)(2)(A)(vii)(IV).


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      After Celgene filed those actions, the U.S. Patent and Trademark Office

(“PTO”) issued to Celgene the ’467 patent, the ’647 patent, the ’648 patent, the

’649 patent, and the ᾿5,939 patent. Appx41; see n.1, supra. On September 28,

2018, Mylan sent a second written notice of its ANDA to Celgene in New Jersey.

Appx122-123. The second notice alleged that the claims of the ’467 patent are

invalid and/or will not be infringed by the activities described in Mylan’s ANDA.

Appx122.     Mylan’s second notice also informed Celgene that Mylan seeks

approval to market the Proposed Products before the ’467 patent expires.

Appx122-123. On November 9, 2018, Celgene filed in New Jersey a patent

infringement action relating to the ’467 patent.   See Celgene Corp. v. Mylan

Pharms. Inc., et al., No. 18-cv-16035, Doc. 1 (D.N.J. Nov. 9, 2018). The district

court consolidated Celgene’s action pertaining to the ’467 patent with Celgene’s

action in No. 17-cv-3387 pertaining to the ’262, ’939, ’428, and ’427 patents

(together, the “Consolidated Actions”). Appx41.

      This appeal concerns a third-filed action, related to Celgene’s ’647, ’648,

and ’649 patents, all of which cover solid forms (or polymorphs) of pomalidomide.

Appx117. Specifically, on November 20, 2018, Celgene sent a written notice to

counsel for Mylan informing Mylan that its Proposed Products will likely infringe

one or more claims of the ’647 patent, the ’648 patent, and the ’649 patent.

Appx123.     Celgene requested that, should Mylan disagree with Celgene’s


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infringement allegations, Mylan produce samples of its Proposed Products, the

active pharmaceutical ingredient used to make the Proposed Products, and

additional documentation concerning the representativeness of the requested

samples, as well as all safety, storage, and handling information that Mylan deems

appropriate for its samples. Appx123. Mylan did not respond to Celgene’s letter.

Appx123.

      Accordingly, on February 14, 2019, Celgene filed a complaint against Mylan

N.V., MPI, and Mylan Inc. alleging infringement of the ’647 patent, the ’648

patent, and the ’649 patent in Celgene Corp. v. Mylan Pharmaceuticals, et al., No.

19-cv-5802, Doc. 1 (D.N.J. Feb. 14, 2019), the action underlying this appeal. The

Complaint contains numerous allegations regarding the Mylan defendants’

coordination, including that: Mylan Inc. is an indirect wholly-owned subsidiary of

Mylan N.V., Appx120; MPI, Mylan Inc., and Mylan N.V. work in concert with

respect to the regulatory approval, manufacturing, marketing, sale, and distribution

of generic pharmaceutical products throughout the United States, Appx120; MPI

acts at the direction, and for the benefit, of Mylan N.V. and Mylan Inc., and is

controlled and dominated by Mylan N.V. and Mylan Inc., Appx120; and Mylan

Inc. and MPI prepare and/or aid in the preparation and submission of ANDAs to

the FDA, Appx118-119. That action was not consolidated with the earlier filed

actions concerning Celgene’s Pomalyst® drug products.


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      At the time Celgene filed the action underlying this appeal, the district court

had denied without prejudice the Mylan defendants’ motion to dismiss for

improper venue and failure to state a claim in the Consolidated Actions, directing

the parties to conduct venue-related discovery. See Celgene Corp. v. Hetero Labs

Ltd., 2018 WL 1135334 (D.N.J. Mar. 2, 2018). Celgene and the Mylan defendants

thereafter stipulated that the final resolution of Mylan’s renewed motion to dismiss

for improper venue and failure to state a claim in the Consolidated Actions after

the completion of venue discovery would apply equally in the action underlying

this appeal. Appx221.

      B.           Mylan’s Regular And Established New Jersey Operations
      Venue discovery revealed that both MPI and Mylan Inc. have a regular and

established place of business in New Jersey.

      To start, the Mylan entities conduct business through                            confidential venue discovery


           venue
MPI and discovery Mylan Inc.) employees who reside in that district. Appx2537. A

number of these employees worked in New Jersey for the Mylan entities for years

before this action began, Appx2537, Appx2539-2542, Appx2544-2545, and

provided            confidential venue discovery     and/or confidential venue discovery as their work contact
                                                   venue                                  venue
information, Appx2681-2683.                        discovery      in the record for discovery of these
                                   venue
employees show the                 discovery   company name and logo on the front with the




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                                                                                                      venue                           venue
                confidential venue discovery                               , and list a               discovery           street discovery .

Appx2681-2683.
                                               venue
            Mylan Inc. employs discovery individuals who live and conduct their business in

New Jersey, serving                               confidential venue discovery              , and               confidential venue discovery


                                                                                            venue
functions. Appx2537. For its part, MPI employs                                              discovery      individuals who each
                                                                  venue                       venue
live and work in New Jersey—                                      discovery           and     discovery             employees and a

“            confidential venue discovery                      .” Appx2537. The confidential venue discovery operating

out of New Jersey play an important role in MPI’s business, with more than
venue
discovery     in sales of tangible personal property shipped to locations in New Jersey

for 2016.              Appx2550-2551, Appx2553.                                   When Mylan entities post a job

opportunity regarding sales and marketing, the job postings often identify specific

locations and require individuals to “live within [the] territory,” Appx2553, or

“live within [the] geography or within reasonable driving distance,” Appx2547,
                                                       venue             venue
Appx2551. The location of its discoveryand discovery                                    employees—including those in

New Jersey—is vital for Mylan to “achieve quarterly sales goals within the

territory.” Appx2547, Appx2550.
                                                                                                                                    venue
            Certain of the MPI employees conducting business out of                                                                 discovery

                                                                              venue                 venue
accessed           confidential venue discovery            that were discovery in                   discovery            in New Jersey.

Appx2537, Appx2667-2674, Appx2676-2679, Appx2719-2720. MPI employees
venue                    venue                                                              venue
discovery   the          discovery             for business purposes and discovery                          MPI employees used


                                                                      10
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                  venue
the same discovery .             Compare Appx2676-2679 (        confidential venue discovery    agreement
                 venue                                          venue                                venue
listing          discovery       as a customer, and allowing    discovery         to access the discovery )
                              venue                                         venue
with Appx2537 (adiscoveryof Mylan employees based in                        discovery      including venue
                                                                                                     discovery
                   venue
                   discovery
venue                    venue                                                     venue           venue
discovery    and         discovery    ). As part of their employment as discovery and              discovery

 venue                                                                                               venue
 discovery        , employees had access to and were required to access the                          discovery

     venue
     discovery               there. Appx2537, Appx2667-2674, Appx2676-2679, Appx2719-

2720.

            Mylan entities emphasize their intertwined relationship, encompassing

Mylan employees who operate out of New Jersey, as part of Mylan’s prominent

“One Mylan” campaign touting a “horizontally and vertically integrated platform

with global scale.” Appx327. Mylan represents to the outside world that its

entities comprise one unified company and, when Mylan’s New Jersey subsidiary

Dey Pharma changed its name to “Mylan Specialty” in 2012, Mylan’s CEO stated

that “operating under one brand will allow us to speak with a more unified and

powerful voice.” Appx525. As part of “One Mylan,” the employees of Mylan

who reside in New Jersey all use one “@mylan.com” email domain address, and

Mylan uses one website in the United States with one hiring webpage, one

newsroom for press releases (including those involving subsidiaries), and the same

customer-service email address for products from all Mylan entities, see Appx549,

Appx553 (showing that Mylan uses customer.service@mylan.com for new drug


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applications made by other Mylan entities). Notably, one of the employees of

Mylan Inc. who worked on the ANDA at issue in this action did not even know

which Mylan entity employed him. Appx2695.

         In addition, the Mylan entities are closely intertwined in their interactions

with regulatory authorities and regarding intellectual property. For example, in

correspondence with the FDA signed by an individual from MPI, Mylan grouped

its affiliated corporate entities together, requesting “that the ‘affiliated’ corporate

entities . . . be consolidated under ‘Mylan Inc.’ for purposes of assessing a single

[Generic Drug User Fee Amendments] II program fee.” Appx774-775. Another

letter to the FDA was sent by MPI, on behalf of Mylan Inc., and signed by an

individual at Mylan N.V. See Appx721-725. And when petitions for inter partes

review are brought by Mylan before the PTO, MPI describes Mylan Inc. and

Mylan N.V. as the “real parties in interest.” Appx2740. See Applications in

Internet Time, LLC v. RPX Corp., 897 F.3d 1336, 1348 (Fed. Cir. 2018) (“[T]he

real-party-in-interest inquiry … bear[s] in mind who will benefit from having those

claims cancelled or invalidated.”).                    The ANDA for the generic version of

Pomalyst®, which lists MPI as the ANDA applicant, includes several references to
    venue                                                                                   venue
    discovery             including for information considered to be the “                  discovery

                                       venue
  confidential venue discovery   of    discovery   ”        Appx1068-1071; see also Appx1066




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                                                         venue                                  venue
(   confidential venue discovery        addressed to     discovery   ); Appx1077 (naming        discovery

                                   venue
as “Name of                        discovery       ).

        C.         The District Court’s Opinion
        In April 2020, following the close of venue-related discovery in the

Consolidated Actions, the Mylan defendants renewed their motion to dismiss,

seeking dismissal for improper venue and dismissal of the claims against Mylan

Inc. and Mylan, N.V. for failure to state a claim. Appx45. The district court in the

Consolidated Actions granted Mylan’s motion to dismiss on September 2, 2020.

Appx39-40.            As noted above, the parties in the instant case agreed that the

resolution of Mylan’s renewed motion in the Consolidated Actions would control

here, and the district court dismissed the Complaint on September 25, 2020.

Appx221. Accordingly, the following summary, while arising in the context of the

Consolidated Actions, applies here.3

        The district court dismissed Mylan, N.V. under Rule 12(b)(6) after

discarding certain allegations based on the ANDA filing and Paragraph IV

certification, which listed only MPI. Appx76-81. The district court denied leave




3
    The parties in the Consolidated Actions consented to the Magistrate Judge’s
jurisdiction concerning the renewed motion to dismiss, including plenary authority
to enter a final order on that motion. See Celgene Corp. v. Hetero Labs Ltd., et al.,
No. 17-cv-3387, Doc. 710 (D.N.J. May 14, 2020).


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to amend based on the length of time the Consolidated Actions had been pending.

Appx81.

       The district court also dismissed MPI and Mylan Inc. for improper venue,

holding that neither MPI nor Mylan Inc. had a regular and established place of

business in the district under Section 1400(b). After concluding that neither Mylan

Inc. nor MPI possesses a “fixed, physical presence in New Jersey,” the district

court assessed whether venue was proper based either on the entities’ employees

living and working in New Jersey, Appx56-62, or the entities’ relationship with

affiliated Mylan companies, including Mylan Laboratories Inc. (“MLI”), Appx62-
                                          venue
75. With regard to Mylan Inc.’s discovery employees, the district court denied the

sufficiency of evidence showing that they lived and worked in New Jersey.
                                 venue                                                venue
Appx56-58. As to MPI’s discovery         employees, including those with access to discovery
     venue
     discovery               and accessed in the district, and the Mylan job posting for a

sales position in New Jersey, the district court concluded that Celgene failed to

adduce evidence sufficient to indicate that MPI ratified its employees working

from their residences in New Jersey. Appx60-62.

       With regard to the entities’ relationship with affiliated Mylan companies that

did indisputably operate out of New Jersey, the district court declined to impute

venue to MPI or Mylan Inc. Appx76. The district court rejected Celgene’s

argument that the existence of affiliates in a forum supported venue proper in that


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forum, and held that venue would be proper only if Mylan “disregarded the

corporate form in their dealings with their respective subsidiaries and affiliates.”

Appx66.          The district court concluded that the Mylan entities had not so
                                                                                            venue
disregarded the corporate form in its dealings with MLI. Even though MLI’sdiscovery
                           venue
venue
discovery    was also an discovery of      venue
                                           discovery         , the termination of MLI’s lease was
                         venue               venue
effectuated by an        discovery    of     discovery        , and MLI portrayed itself as doing

business as MPI in government records, the district court declined to conclude that

MLI’s finances, policies, and business practices were “completely dominated” by

another Mylan entity. Appx70-72. The district court also held that Celgene failed

to show “that adherence to the fiction of separate corporate existence would

sanction a fraud or promote injustice,” rejecting Celgene’s argument that venue

based on Mylan affiliates in the district would prevent forum shopping or

effectuate the purposes of the Hatch-Waxman Act. Appx75-76.

                                   SUMMARY OF ARGUMENT

                                                         I

            The district court’s dismissal of Mylan N.V. for failure to state a claim

misapplies the relevant law and ignores the relevant factual allegations.                    The

district court’s primary rationale for holding that Celgene had not stated a claim for

patent infringement against Mylan N.V. in connection with the ANDA submission

rests on the notion that Mylan N.V. cannot qualify as a “submitter” of the ANDA



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because MPI was the sole named applicant for the ANDA with the FDA. But this

Court has held that the “submitter” of an ANDA extends beyond the named

applicant to those entities involved in the preparation of the ANDA and those

entities that will benefit from sales of the generic product if the ANDA is

approved. The Complaint pleads such facts as to Mylan N.V., and thus application

of the correct law requires reversal.

      At a minimum, the district court abused its discretion in denying Celgene’s

request for leave to amend. The district court’s reasoning—that the time for

amendment had passed and that the Mylan defendants previously had moved to

dismiss, thus putting Celgene on notice—fails to account for the fact that the court

had denied the Mylan defendants’ prior motion to dismiss and that other courts

have held patent infringement claims adequately pleaded based on similar

allegations to those that Celgene included in its original Complaint (thus, leaving

Celgene to believe there were no inadequacies). The district court’s rejection of

Celgene’s request for leave to amend as inconsistent with the scheduling order for

the Consolidated Actions contravenes the well-established policy of liberally

permitting amendment and, in any event, has no relevance to the Complaint at

issue in this appeal. Celgene requested as alternative relief the ability to amend the

Complaint on May 29, 2020, before the July 31, 2020 deadline for amendment of

the Complaint in the action underlying this appeal.


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                                                  II

       The district court’s dismissal of Mylan Inc. and MPI based on improper

venue likewise should be reversed because each of the factors this Court set forth

in In re Cray, 871 F.3d 1355 (Fed. Cir. 2017), for establishing that a defendant has

a “regular and established place of business” under Section 1400(b) in the district,
                                                       venue
is met here. MPI alone has more than a discovery employees in the district. Mylan
                 venue         venue
products are discovery in a discovery space in the district and accessed by multiple MPI
                 venue
employees. discovery        MPI employees list their           confidential venue discovery   on their
                venue
Mylan           discovery    , holding their homes out to the public as the place of
                                                               venue
business of the Mylan entity. And Mylan Inc. has discovery employees in the district
                                 venue
who have established             discovery    from which they carry out essential functions

for Mylan Inc. MPI and Mylan Inc. each have both a stable physical presence and

agents in the district, which is sufficient under this Court’s precedent for

demonstrating that a defendant has a “regular and established place of business” in

the district.

       But even if those connections were insufficient, the district court erred in

failing to impute venue to both MPI and Mylan Inc. based on the Mylan affiliates

in the district. Mylan operates as one company, and presents itself to the public as

such, meaning that the places of business of affiliates in New Jersey may also be

considered those of MPI and Mylan Inc. Also, the interrelatedness of Mylan


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N.V.’s subsidiaries and affiliates and their operations supports imputation of venue

between Mylan entities. And venue is proper under the general venue statute

because it applies to forward-looking ANDA infringement actions just as it applies

declaratory judgment actions.

      This Court’s recent decision in Valeant Pharmaceuticals North America

LLC v. Mylan Pharmaceuticals Inc., 978 F.3d 1374 (Fed. Cir. 2020), pet. for

reh’rg en banc pending, No. 19-2402, Doc. 75 (Fed. Cir. Dec. 7, 2020), does not

foreclose a holding that venue is proper in New Jersey. The district court correctly

held that the Mylan defendants had committed acts of infringement in New Jersey

based on this Court’s case law establishing that the “highly artificial act of

infringement” associated with ANDA filings occurs nationwide. Even setting

aside the scope of the ANDA submission, an interpretation of Section 1400(b) to

provide for venue where the effects of infringement are felt accords with the

interpretation of other venue statutes with similar language. And, while the Court

in Valeant held venue is “proper only in those districts that are sufficiently related

to the ANDA submission,” the ANDA submission requires a Paragraph IV

certification, which in turn requires proof that the filer notified the patent holder of

the assertion in the ANDA that the patents are invalid or will not be infringed.

Here, MPI sent that notice to Celgene in New Jersey. That notice is part of

Mylan’s ANDA submission and gave rise to the litigation.                   It, thus, is


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unquestionably “sufficiently related to the ANDA submission” and satisfies the

test set forth in Valeant.

                                  ARGUMENT

I.    THE DISTRICT COURT ERRED IN                           DISMISSING        THE
      CONTROLLING PARENT, MYLAN N.V.
      The district court erred in dismissing Mylan N.V. based upon its

misapplication of the law defining who constitutes a “submitter” of an ANDA and

disregarding facts pleading that Mylan N.V. will benefit from the ANDA, if

approved. At a minimum, the district court abused its discretion in denying leave

to amend the Complaint against Mylan N.V., in contravention of Third Circuit law

providing for the denial of leave to amend only in narrow circumstances not

present here.

      A.        Standard Of Review
      This Court “appl[ies] regional circuit law when reviewing motions to

dismiss for failure to state a claim.” Visual Memory LLC v. NVIDIA Corp., 867

F.3d 1253, 1257 (Fed. Cir. 2017). The Third Circuit “review[s] de novo a district

court’s grant of a motion to dismiss for failure to state a claim under Federal Rule

of Civil Procedure 12(b)(6).” Id. (quoting Ballentine v. United States, 486 F.3d

806, 808 (3d Cir. 2007)). Regional circuit law also governs this Court’s review of

a district court’s denial of leave to amend. See Cleveland Clinic Found. v. True

Health Diagnostics LLC, 859 F.3d 1352, 1363 (Fed. Cir. 2017). The Third Circuit


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“review[s] the denial of a motion for leave to amend for abuse of discretion.”

Menkes v. Prudential Ins. Co. of Am., 762 F.3d 285, 290 (3d Cir. 2014). But that

“discretion, circumscribed by Rule 15’s directive in favor of amendment, must be

exercised within the context of liberal pleading rules.” Mullin v. Balicki, 875 F.3d

140, 150 (3d Cir. 2017) (citations and quotations omitted).

      B.     The District Court Erred In Holding That Celgene Failed To
             State A Claim Against Mylan N.V.
      Federal Rule of Civil Procedure 8(a)(2) “generally requires only a plausible

‘short and plain’ statement of the plaintiff’s claim.” Skinner v. Switzer, 562 U.S.

521, 530 (2011); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007). “The touchstone of the pleading standard is

plausibility.” Bistrian v. Levi, 696 F.3d 352, 365 (3d Cir. 2012). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to

draw a reasonable inference that the defendant is liable for the misconduct

alleged.” Iqbal, 556 U.S. at 678 (citation omitted). Factual allegations in the

Complaint must be taken as true in assessing whether a Complaint states a claim

for relief. See Twombly, 550 U.S. at 556.

      The district court erred in dismissing Mylan N.V. because the Complaint

plausibly pleads a patent infringement claim against Mylan N.V.

      First, the district court erred in declining to “credit Celgene’s allegations

that Mylan, N.V. submitted the ANDA that serves as the basis for the infringement


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claims at issue,” reasoning that “[a]s the documents themselves bear out, venue
                                                                          discovery


    confidential venue discovery   ANDA No. 210275, and sent the notice of certification

letter to Celgene in regard to … venue
                                 discovery proposed pomalidomide product.” Appx80.


As a result, the district court concluded that “Celgene’s allegations that Mylan

N.V. submitted the relevant documents are therefore belied by the content of those

documents.”           Appx80.      But this Court has rejected the idea—including mere

months ago in a case involving Mylan entities—that only the signatories of ANDA

filings are considered “submitters.” See Valeant, 978 F.3d at 1384 (“Whether

MLL can be held answerable to claims of infringement in this case turns on

whether MLL’s involvement in the submission of the ANDA is sufficient for it to

be considered a ‘submitter,’ and thus, amenable to suit.”) (citing In re Rosuvastatin

Calcium Patent Litig., 703 F.3d 511, 527-29 (Fed. Cir. 2012)). Courts routinely

define a “submitter” to include any party that intends to benefit from the ANDA if

approved. See, e.g., Rosuvastatin, 703 F.3d at 527-29; Helsinn Healthcare S.A. v.

Hospira, Inc., 2016 WL 1338601, at *7 (D.N.J. Apr. 5, 2016) (“§ 271(e)(2) does

not explicitly require [an entity] to sign the ANDA in order for it to be a properly-

named defendant.”).

       Indeed, in Valeant, the Court addressed a similar situation to that present

here because the complaint in Valeant defined “Mylan” to include all Mylan

defendants, and alleged that “Mylan” submitted the ANDA. Valeant, 978 F.3d at


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1385 (“[E]ight other paragraphs in the complaint asserting that ‘Mylan’—defined

to encompass all three entities—‘submitted’ the ANDA and materials related to

it.”). This Court remanded the case even though the complaint also “asserted that

only MPI was involved in submitting the ANDA.” Id. Under these facts, this

Court held that, on remand, the district court in that case “may well find that these

paragraphs are sufficient to state a claim against MLL” or grant leave to amend “to

clarify any apparent confusion.”      Id.        The district court’s unduly restrictive

interpretation of “submit” in the context of ANDA filings here thus is contrary to

this Court’s precedent, and the district court erred in disregarding allegations that

Mylan N.V. “submitted” the ANDA.

      Second, the district court wrongly “discard[ed]” allegations that “[MPI] acts

at the direction, and for the benefit of, Mylan N.V. and Mylan Inc., and is

controlled and/or dominated by Mylan N.V. and Mylan Inc.” Appx79. The

district court held that such allegations were “conclusory” but did so based on the

requirements necessary to pierce the corporate veil.           Appx79 (reasoning that

plaintiff must allege “specific facts … in order to rely on an alter ego theory”

(emphasis added) (citing High 5 Games, LLC v. Marks, 2019 WL 3761114, at *6,

12 (D.N.J. Aug. 9, 2019)). But Celgene was not required to plead facts sufficient

to pierce the corporate veil to show that Mylan N.V. had a hand in the submission

of the ANDA or that it would benefit from approval. See, e.g., Valeant, 978 F.3d


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at 1385; Warner Chilcott Co. v. Mylan Pharms., 2017 WL 603309, at *4 (E.D.

Tex. Jan. 19, 2017), report and recommendation adopted, 2017 WL 590295 (E.D.

Tex. Feb. 14, 2017) (recommending plaintiff stated a claim that each Mylan entity

“submitted” the ANDA under § 271(e)(2) based on allegations that Mylan entities

are “agents of each other” that “work in active concert either directly or through

one or more of their wholly owned subsidiaries”); Allergan, Inc. v. Teva Pharm.

USA, Inc., 2016 WL 1572193, at *5 (E.D. Tex. Apr. 19, 2016) (Bryson, Circuit

Judge) (similar).

      As this Court made clear in Rosuvastatin, liability for patent infringement in

a Hatch-Waxman action extends to an entity’s “agent and subsidiary.” 703 F.3d at

529; see also id. at 530 (Plager, J., concurring) (“[I]it is the real party in interest—

the commercial manufacturer—who is the statutory applicant who ‘submit[s]’ the

application and commits the act of infringement. In the case before us, there is no

doubt that Apotex Canada is the principal party in interest and intends ‘to engage

in the commercial manufacture, use, or sale’ of the drug, and thus is an applicant

under the statute.’”). The more burdensome alter ego pleading standard upon

which the district court relied has no place in the assessment of the viability of the

patent infringement claim against Mylan N.V.

      Finally, the district court erred in not accepting as true the allegations in the

Complaint that each of the three Mylan defendants would benefit from the sale of


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the Proposed Products upon approval of the ANDA. The district court reasoned

that “[n]owhere in the Complaint does Celgene allege that Mylan[] N.V. prepared

the ANDA, or will sell MPI’s pomalidomide product upon its approval.” Appx80.

But that is contradicted by the allegations in the Complaint. Here, the Complaint

clearly alleges that each of the Mylan defendants would “engage in the commercial

manufacture, use, offer for sale, or importation into the United States of [Mylan’s

ANDA Products],” Appx121-122, that “Mylan will induce infringement of one or

more claims of the … patent under 35 U.S.C. § 271(b) by making using, offering

to sell, selling, and/or importing Mylan’s ANDA products in the United States,”

Appx124, that “Mylan will intentionally encourage acts of direct infringement,”

Appx124, and that “Mylan will contributorily infringe one or more claims of the

… patent under 35 U.S.C. § 271(c) by making, using, offering to sell, selling,

and/or importing Mylan’s ANDA Products in the United States,” Appx124. The

Complaint not only defines “Mylan” to include all of the Mylan defendants, but

also explains the basis for such definition—“Mylan Pharmaceuticals, Inc., Mylan

Inc., and Mylan N.V. work in concert with respect to the regulatory approval,

manufacturing, marketing, sale, and distribution of generic pharmaceutical

products.” Appx120.

      Such facts more than satisfy the plausibility standard.       Celgene is not

required to specify at the pleading stage the precise acts that Mylan N.V. undertook


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with regard to the ANDA; rather, courts routinely hold more generalized

allegations sufficient, particularly when the defendants are all members of the

same corporate family. See, e.g., Cephalon, Inc. v. Watson Pharm., 629 F. Supp.

2d 338, 349 (D. Del. 2009) (“Parties ‘actively involved’ in preparing the ANDA

are deemed to have ‘submit[ted]’ the ANDA, regardless of whether they are the

named applicant; this is especially true where the parties involved are in the same

corporate family.”) (citation omitted); see also Helsinn, 2016 WL 1338601, at *8

n.6 (defendants “function together in the ‘same corporate family,’ as parent and

subsidiary looking to distribute and market their generic . . . product”); Warner

Chilcott, 2017 WL 603309, at *4 (recommending denial of motion to dismiss

claims against Mylan Inc. and noting that a party submits an ANDA “if it

participates in the preparation of the ANDA and intends to benefit directly from

the ANDA by selling the ANDA product upon FDA approval”); Endo Pharm. v.

Actavis Inc., 2017 WL 522825, at *1 (D. Del. Feb. 8, 2017). In fact, courts not

only have held such allegations sufficient generally, but have also done so

specifically as to Mylan entities. See Warner Chilcott, 2017 WL 603309, at *4;

Allergan, 2016 WL 1572193, at *5.

       For all of these reasons, the district court erred in dismissing Mylan N.V. for

failure to state a claim.




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      C.    The District Court Abused Its Discretion In Denying Leave To
            Amend
      At a minimum, the district court abused its discretion in declining to permit

Celgene to amend its Complaint to add allegations against Mylan N.V. related to

its role in preparing and submitting the ANDA filing, and how it will benefit from

the ANDA, if approved.

      “The court should freely give leave when justice so requires.” Fed. R. Civ.

P. 15(a)(2); Mullin, 875 F.3d at 149 (explaining “[t]his liberal amendment regime

helps effectuate the general policy embodied in the Federal Rules favoring

resolution of cases on their merits”) (citation and quotation omitted). “A decision

on whether to permit amendment of the pleadings generally falls within the District

Court’s discretion.” Id. at 150. Leave to amend should be granted unless there is

“substantial or undue prejudice, . . . bad faith or dilatory motives, truly undue or

unexplained delay, repeated failures to cure the deficiency by amendments

previously allowed, or futility of amendment.” Lorenz v. CSX Corp., 1 F.3d 1406,

1414 (3d Cir. 1993).

      Here, the district court denied leave to amend because it concluded that the

time for amendment had passed.        Appx81.    But that analysis—based on the

scheduling order that applied to the Consolidated Actions—has no application in

the instant case (even were it correct as to the Consolidated Actions). Celgene

requested leave to amend in its opposition to Mylan’s motion to dismiss in May


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2020, and the operative scheduling order in the action on appeal (commenced in

2019) permitted amendment as of right until July 2020. Celgene Corp. v. Hetero

Labs Ltd., et al., No. 17-cv-3387, Doc. 717 (D.N.J. May 29, 2020); see also

Appx1373. The district court therefore should have permitted leave to amend

when it issued its opinion on September 2, 2020. See Alvin v. Suzuki, 227 F.3d

107, 122-23 (3d Cir. 2000) (reversing as an abuse of discretion denial of leave to

amend based on case management considerations). Indeed, there had not been a

prior amendment of the Complaint in this action, underscoring the impropriety of

disallowing an amendment here.           United States ex rel. Customs Fraud

Investigations, LLC. v. Victaulic Co., 839 F.3d 242, 250 (3d Cir. 2016) (“[W]e

have rarely upheld a dismissal with prejudice of a complaint when the plaintiff has

been given no opportunity to amend.”).

      Further, while courts may deny leave to amend when parties are put on

notice of supposed defects in their pleading, nothing would have indicated to

Celgene that its allegations as to Mylan N.V. were deficient (and, indeed, they

were not) because the district court had denied the Mylan defendants’ prior motion

to dismiss. Celgene Corp. v. Hetero Labs Ltd., et al., No. 17-cv-3387, Doc. 150

(Opinion) at 8 (D.N.J). And, as described supra, other courts have held patent

infringement sufficiently pleaded against the family of Mylan entities based on




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similar allegations. See supra, at 25.4 The district court identified no “substantial

or undue prejudice, . . . bad faith or dilatory motives, truly undue or unexplained

delay, repeated failures to cure the deficiency by amendments previously allowed,

or futility of amendment,” Lorenz, 1 F.3d at 1414, and thus abused its discretion in

denying Celgene leave to amend the Complaint to add allegations against Mylan

N.V. related to its role in preparing and submitting the ANDA filing, and how it

will benefit from the ANDA, if approved.

II.   THE DISTRICT COURT ERRED IN DISMISSING MPI AND
      MYLAN INC. FOR IMPROPER VENUE
      The district court also erred in concluding that the facts did not establish a

prima facie showing of proper venue as to MPI and Mylan Inc.

      A.     Standard Of Review
      “Whether venue is proper under § 1400(b) is an issue unique to patent law

and is governed by Federal Circuit law.” In re ZTE (USA) Inc., 890 F.3d 1008,

1012 (Fed. Cir. 2018). This Court reviews “de novo the question of proper venue

under 28 U.S.C. § 1400(b).” Westech Aerosol Corp. v. 3M Co., 927 F.3d 1378,

1381 (Fed. Cir. 2019); see also Valeant, 978 F.3d at 1378. “[A]s a matter of

4
   The district court cited Galderma Laboratories, L.P. v. Teva Pharm. USA, Inc.,
290 F. Supp. 3d 599, 616 (N.D. Tex. 2017), to support dismissal of the Complaint
against Mylan N.V., Appx58, but ignored that the court in Galderma not only
recognized that other decisions “denied Rule 12(b)(6) motions on thinner
allegations,” but also granted leave to amend the complaint in that action. 290 F.
Supp. 3d at 617, 619.


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Federal Circuit law, upon motion by the Defendant challenging venue in a patent

case, the Plaintiff bears the burden of establishing proper venue.” ZTE, 890 F.3d at

1013. Where the district court “relies on pleadings and affidavits, the plaintiff

need only make a prima facie showing of venue.” 14D Charles Alan Wright &

Arthur R. Miller, Federal Practice & Procedure § 3826 (4th ed. Oct.

2020). “Under that prima facie standard, the court must resolve all factual disputes

in the plaintiff’s favor.” Polar Electro Oy v. Suunto Oy, 829 F.3d 1343, 1347-48

(Fed. Cir. 2016).5

      Whether venue is proper under 28 U.S.C. § 1391 does not raise questions

unique to patent law, and regional circuit law thus applies. Cf. ZTE, 890 F.3d at

1012. Under that general venue statute in the Third Circuit, the “defendant[s] ...

bear the burden of showing improper venue.” Myers v. Am. Dental Ass’n, 695

F.2d 716, 724–25 (3d Cir. 1982). Federal appellate courts generally review de

novo the legal conclusion of whether venue is proper under 28 U.S.C. § 1391. See

Gulf Ins. Co. v. Glasbrenner, 417 F.3d 353, 355 (2d Cir. 2005) (compiling cases).



5
    Although Polar Electro applies that prima facie standard in the context of a
motion to dismiss for lack of personal jurisdiction, this Court treats venue and
personal jurisdiction as “parallel cases” when formulating the burden and showing
necessary to survive a motion to dismiss. ZTE, 890 F.3d at 1014 (holding plaintiff
bears the burden of establishing proper venue, just as, “in the parallel case of
personal jurisdiction, upon challenge by the defendant, plaintiff bears the burden of
affirmatively establishing the first two elements of the due process requirement”).


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      B.      Venue For MPI And Mylan Inc. Is Proper In New Jersey Under
              The Patent Venue Statute
      The totality of the evidence on the business MPI and Mylan Inc. conduct in

New Jersey leads to the conclusion that each of MPI and Mylan Inc. has a “regular

and established place of business” in the district. Each has geographic locations

and regular agents in the district conducting the business of MPI and Mylan Inc.,

which satisfies Section 1400(b)’s “place of business” requirement.             Those

connections are strengthened further by business that Mylan affiliates conduct in

the district, which may be imputed for venue purposes.             And, under any

conceivable legal standard for assessing where the patent infringement has

occurred, venue is proper in New Jersey, where Mylan sent Celgene its Paragraph

IV notice letters, asserting that Celgene’s patents are invalid, and where Celgene

will feel the brunt of the harm of the infringement if the ANDA is approved.

              1.   MPI And Mylan Inc. Have A Regular And Established
                   Place Of Business In New Jersey
      The inquiry for “regular and established place of business” is highly fact-

specific—“no precise rule has been laid down and each case depends on its own

facts.”    In re Cray, 871 F.3d 1355, 1362 (Fed. Cir. 2017).        This Court has

delineated “three general requirements relevant to the inquiry: (1) there must be a

physical place in the district; (2) it must be a regular and established place of

business; and (3) it must be the place of the defendant.” Id. at 1362-63; see also In



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re Cordis Corp., 769 F.2d 733, 737 (Fed. Cir. 1985) (noting that the appropriate

inquiry is “not . . . whether it has a fixed physical presence in the sense of a formal

office or store”). The regular and established place of business need not relate to

the conduct at issue in the case. See Bristol-Myers Squibb Co. v. Mylan Pharm.

Inc., 2017 WL 3980155, at *21 (D. Del. Sept. 11, 2017) (“[N]o relationship

between a defendant’s acts of infringement and its regular and established place of

business is necessary to satisfy § 1400(b).”); Plexxikon Inc. v. Novartis Pharm.

Corp., 2017 WL 6389674, at *2 (N.D. Cal. Dec. 7, 2017) (“The Court . . .

concludes that the plain language of the statute does not include a nexus

requirement.”); Genentech, Inc. v. Eli Lilly & Co., 2019 WL 4345788, at *3 (S.D.

Cal. Sept. 12, 2019) (same).

                    (a)    MPI And Mylan Inc. Have Physical Places Of
                           Business In New Jersey
      As to the first Cray factor, the requirement to establish the existence of a

“physical place” in New Jersey is met through both the homes of MPI and Mylan
                          venue
Inc.’s employees and      discovery    in New Jersey.

      To establish a physical place and therefore satisfy the first Cray factor, there

must exist a “physical, geographical location[] in the district from which the

business of the defendant is carried out.” In re Google LLC, 949 F.3d 1338, 1343

(Fed. Cir. 2020) (holding presence of Google’s servers in the district constituted a

place under the first Cray factor). This Court has emphasized that any physical


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location within the district satisfies the “place” requirement, such that a defendant

need not possess “real property ownership or a leasehold interest in real property”

because “a ‘place’ need not have such attributes.” Id. Nor must the fixed physical

presence be a “formal office or store.” Cordis, 769 F.2d at 737. To the contrary,

this Court has recognized that the physical locations that satisfy the “place”

requirement include “leased shelf space or rack space,” In re Google, 949 F.3d at

1343-44 (citing Tinnus Enters., LLC v. Telebrands Corp., 2018 WL 4560742, at *4

(E.D. Tex. Mar. 9, 2018), report and recommendation adopted, 2018 WL 4524119

(E.D. Tex. May 1, 2018), and Peerless Network, Inc. v. Blitz Telecom Consulting,

LLC, 2018 WL 1478047, at *3 (S.D.N.Y. Mar. 26, 2018)), and even “a table at a

flea market,” id. at 1343.
                                                                                    venue
            Here, the homes of the MPI and Mylan Inc. employees and the             discovery

venue
discovery    used for Mylan’s products all satisfy the “place” requirement in New

Jersey. As to the employees, the    venue
                                    discovery        MPI and Mylan Inc. employees’ homes

are geographical locations out of which MPI and Mylan Inc. work is conducted. In

Cordis, this Court suggested that the homes of two of the defendant’s sales

representatives constituted a regular and established place of business because the

employees conducted work out of home offices. 769 F.2d at 735, 737 (declining to

issue writ of mandamus to reverse district court’s denial of motion to dismiss for

improper venue); see also Cray, 871 F.3d at 1364 n.1 (noting a defendant’s


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business model may ensure the “many employees’ homes are used by the business

as a place of business of the defendant”). The same is true here, as the MPI and

Mylan Inc. employees worked out of the district for years before the complaint was

filed, Appx2537, Appx2539-2542, Appx2544-2545, and, like the sales
                                                                 venue                         venue
representatives in Cordis, provide New Jersey                    discovery      and/or discovery
 venue
 discovery   for their work, Appx2681, Appx2683. Accordingly, these employees’

home offices satisfy the first Cray requirement. RegenLab USA LLC v. Estar

Techs. Ltd., 335 F. Supp. 3d 526, 549 (S.D.N.Y. 2018) (holding “the ‘physical

place’ requirement is satisfied through the home offices of certain Eclipse

employees”).

         As to the      venue
                        discovery         , like the servers held to be physical “places” in
                     venue             venue
Google, the          discovery      to discoveryMylan’s products “are physically located in the
                                                                                   venue
district in a fixed, geographic location.” 949 F.3d at 1343. These                 discovery

                       venue
contain Mylan          discovery          and are maintained and accessed by multiple MPI

employees. Appx61. This Court has made clear that such locations used to venue
                                                                         discovery


products constitute “physical, geographical location[s] in the district from which

the business of the defendant is carried out.” Cray, 871 F.3d at 1362 (citing

Cordis, 769 F.2d at 735, for proposition that employees’ homes are such “places”

when used to store “literature, documents and products” and recognizing

“distribution centers” and other locations that store “inventory” constitute


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                                                              venue
“places”). Accordingly, employees’ homes and                  discovery   in New Jersey

qualify as a physical place and thus satisfy the first Cray factor.

                    (b)    MPI And Mylan Inc.’s Places Of Business Are
                           Regular And Established
      As to the second Cray factor, the long-term nature of the MPI and Mylan

Inc.’s employees’ homes and the        venue
                                       discovery        maintained in New Jersey satisfy

the requirement that the place of business be regular and established.

      This Court has held that the “regular and established” factor “requires the

regular, physical presence of an employee or other agent of the defendant

conducting the defendant’s business at the alleged ‘place of business.’” Google,

949 F.3d at 1345. The requirement for “regular and established” will be met so

long as the place of business is “steady, uniform, orderly, and methodical” and

“settled certainly, or fixed permanently.”          Cray, 871 F.3d at 1362-63.      The

requirement for conducting business will be met where “the actual producing,

storing, and furnishing to the customers of what the business offers” occurs.

Google, 949 F.3d at 1346.

      First, the MPI and Mylan Inc. employees regularly conduct business from

their home offices. Some of the Mylan defendants’ employees in the district

worked for MPI or Mylan Inc. for years before the complaint in this action was

filed. Appx2537, Appx2539-2542, Appx2544-2545. The extended and continuous

presence of the Mylan defendants’ employees in the district “demonstrates that the


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business was established for purposes of venue.” Cray, 871 F.3d at 1363 (referring

to “a five-year continuous presence in the district”). And the MPI and Mylan Inc.
                                       venue                           venue
employees provided New Jersey          discovery          and/or       discovery               for their
                         venue
work, including on       discovery   , Appx2681, Appx2683, indicating to potential

and current customers that those employees could be contacted for work purposes
                                                     venue
at their New Jersey home offices and at              discovery        associated with New
                                                                                   venue
Jersey addresses. The district court discounted the New Jersey                     discovery     on the
          venue
Mylan     discovery   because “[n]othing in the record suggests MPI’s business is

actually carried out from the employee’s home.”                  Appx59.           But the clear

inference—which the district court should have drawn in Celgene’s favor, Polar

Electro, 829 F.3d at 1347-48—is that employees conduct business at the place

where they advertise to customers that they can be found. Indeed, the district court

concluded as much, stating that Celgene had demonstrated “that there exists within

the district a physical location where an employee of the defendant carries on

certain work for his employer.” Appx59 (citing Cray, 871 F.3d at 1366).

      The purposeful placement of employees in New Jersey also indicates the
                                                                                               venue
business is “regular and established.” The Mylan defendants’ venue
                                                             discoveryand                      discovery

                      venue
agents, including the discovery that MPI employs in New Jersey, work to “[a]chieve

quarterly sales goals within the territory” and “[l]everage [Mylan’s] sample

program, literature and other items to ensure physician awareness of Mylan


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                                                                           venue
Products.” Appx2550-2551, Appx2553. Ultimately,venue
                                               discovery of discovery of dollars in

sales of Mylan products are shipped to New Jersey each year.                               Appx2563,

Appx2565, Appx2595, Appx2597. The district court wrongly deemed these sales

“irrelevant” simply because they do not alone “establish a physical place in the

district.” Appx58 (quoting Galdmera Labs, L.P. v. Teva Pharm. USA, Inc., 290 F.

Supp. 3d 599, 613 (N.D. Tex. 2017)).                     But while sales may not establish a

geographic location, they do indicate that regular and established business is

conducted in the district. And here, as in RegenLab, 335 F. Supp. 3d at 550-51,

sales “tasks necessitate proximity to customers,” and demonstrate that sales agents

“have not merely worked out of [the state in question] by happenstance.” See

infra, at 40.
                              venue
            Second, the       discovery         in the district, which are maintained by MPI’s

employees, constitute regular and established places of business.                      Indeed, the
     venue
     discovery         are indistinguishable from warehouses as a physical location
                       venue                                                   venue
because the            discovery           are locations at which Mylan        discovery         are
venue
discovery   so that the employees in the district have product on hand. And “[t]here is

no question that warehouses are properly considered places of business and have

been so held, by both legislatures and courts.” Seven Networks, LLC v. Google

LLC, 315 F. Supp. 3d 933, 958 n.35 & n.36 (E.D. Tex. 2018) (compiling

legislative and judicial sources holding warehouses are places of business).


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                                                                                                      venue
            As with all business storage facilities, the Mylan defendants’                            discovery

                                                   venue
serve to maintain the Mylan                        discovery         “in local districts to provide

[defendants’ customers] with quick access … avoiding delays associated with

distant … retrieval” of the                venue
                                           discovery           . Id. at 960. Accordingly, that the
                                                                                          venue
Mylan defendant employees are not always present at the                                   discovery       does not
                                              venue
preclude the finding that those               discovery     are regular and established places of
                                                                     venue
business because the business conducted at those discovery                            (the venue
                                                                                           discovery of venue
                                                                                                        discovery

venue
discovery    ) does not require the constant presence of Mylan personnel.                                         See

Rensselaer Polytechnic Inst. v. Amazon.com, Inc., 2019 WL 3755446, at *12

(N.D.N.Y. Aug. 7, 2019) (“Thus, the relevant question is not whether Defendant’s

agents are present at all times at the Lockers but whether Defendant has agents

conducting its business at the Lockers.”). As part of their employment as sales and

marketing employees, certain employees had access to and were required to access
                  venue                venue
Mylan             discovery     in     discovery            in the district. Appx2537, Appx2667-
                                                                          venue
2674, Appx2676-2679, Appx2719-2720. The                                   discovery           thus qualify as a

regular and established place of business.6


                                                                                                             venue
6
    The district court indicated that Celgene did not “contend that the discovery
themselves are regular and established places of business,” Appx61, but in fact
Celgene argued that the employees were required to conduct business at the
    venue
    discovery  . See Celgene Corp. v. Hetero Labs Ltd., et al., No. 17-cv-3387,
Doc. 717 at 15 (D.N.J. May 29, 2020).


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      Finally, the fact that service of process could be effectuated on MPI and

Mylan Inc. at their employees’ homes in the district confirms that the “regular and

established place of business” requirement of Section 1400(b) is met. In In re

Google, 949 F.3d at 1344, this Court emphasized that, because the “regular and

established place of business” language in the venue statute reflected similar

language in the service statute, the finding that service could be effected on an

agent’s place of business in a district supports the finding that venue also lies in

that district. Whether service can be effected by service on an agent generally

turns on whether service was made “upon a representative so integrated with the

organization that he [or she] will know what to do with the papers.” Direct Mail

Specialists, Inc. v. Eclat Computerized Techs., Inc., 840 F.2d 685, 688 (9th Cir.

1988) (“Generally, service is sufficient when made upon an individual who stands

in such a position as to render it fair, reasonable and just to imply the authority on
                                                  venue
his part to receive service.”). Here,discoveryof the Mylan Inc. employees working out
                                                                                           venue            venue
of New Jersey includes a                          confidential venue discovery       and   discovery   of   discovery

       venue               venue
       discovery    and discovery . Appx2683. The Mylan defendants cannot credibly

dispute that a     confidential venue discovery             “would know what to do” upon receipt of

service papers.




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                        (c)       These Places Of Business Are Of The Defendants
        The facts also demonstrate that MPI and Mylan Inc. have established or

ratified a place of business in the district through their employees’ residences, the
                                                                                       venue
marketing of its employees as operating out of New Jersey, and the use of discovery
venue                                                                 venue
discovery   as required locations for the distribution of Mylan       discovery    .

        To show that the place of business is “‘the place of defendant,’” “the

defendant must establish or ratify the place of business.” Cray, 871 F.3d at 1363.

The factors relevant to ratification include not only whether the defendant owns or

leases the place or exercises control over it, but also whether “the defendant

conditioned employment on an employee’s continued residence in the district or

the storing of materials at a place in the district so they can be distributed or sold

from that place.” Id. Likewise, the court should consider representations to the

public about the defendant’s place of business, including any advertising or

marketing that includes the address. Id. at 1363-64.

        First, the employees’ home offices are places of business of their Mylan

defendant employers.              As this Court explained in Cray, “[m]arketing or

advertisements also may be relevant … to the extent they indicate that the

defendant itself holds out a place of its business.”              Id. at 1363.     Here, the

employees’            venue
                      discovery       clearly represent to potential customers those

employees could be contacted at their New Jersey home offices and on venue
                                                                     discovery




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venue
discovery       associated with New Jersey addresses, Appx2681, Appx2683. And those

representations were connected to the Mylan defendants’ employees’ work: the
    venue
    discovery     and venue
                      discovery of Mylan products in the district require proximity to


customers. RegenLab, 335 F. Supp. 3d at 550-51.

            Indeed, when the Mylan defendants hire sales agents in specific locations,

they often identify specific locations and require individuals to “live within [the]

territory,” Appx2553, or “live within [the] geography or within reasonable driving

distance,” Appx2547, Appx2551. These hiring requirements, too, “differentiate[]

this matter from In re Cray, where ‘no evidence showed that the defendant

believed a location within the [district] to be important to the business performed,’

or that the defendant had any intention to maintain some place of business in that

district in the event the employees decided to terminate their residences as a place

where they conducted business.”                    RegenLab, 335 F. Supp. 3d at 552

(distinguishing Cray, 871 F.3d at 1365, on the basis that defendant “does solicit

sales people in public advertisements to cover the [district] area and prefers that

those employees live in their assigned sales area”).

            Second, the     venue
                            discovery        of Mylan’s products, which are necessary for the

employees operating out of the district to be able to provide samples when

marketing potential products, further evince the Mylan defendants’ establishment

and ratification of business in New Jersey.                  When elucidating the “of the


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defendant” part of its tripartite analysis, Cray explained that “[a]nother

consideration might be … the storing of materials at a place in the district so that

they can be distributed or sold from that place.”                    871 F.3d at 1363.               This
                                                       venue
consideration weighs in favor of treating the          discovery               as a place of business
                                           venue
of the Mylan defendants, as those discovery facilitate the distribution of Mylan’s
    venue
    discovery        in the district. See RegenLab, 335 F. Supp. 3d at 552 (concluding

the local inventory favors venue).
                                                                                    venue
       Third and finally, even if the employee residences and                       discovery       were

independently inadequate to establish venue, this Court generally assesses venue

on a district-by-district rather than address-by-address basis. See, e.g., Cray, 871

F.3d at 1362 (referring to “employees’ homes” and “distribution centers,” plural).

Thus, even if the employees’ homes do not alone qualify as the Mylan defendants’
                                                                        venue
places of business, the combination of the physical                     discovery          in the district

and agents working in the same district together compels the conclusion that the

Mylan defendants have a regular and established place of business in the district.

As in RegenLab, 335 F. Supp. 3d at 552, the Mylan defendants’ employees in New
                       venue                                       venue
Jersey use the         discovery     to maintain Mylan             discovery           , which are then

used for sales. Taken together, the Mylan defendants’ total involvement in the

district more closely resembles that held sufficient to avoid a writ of mandamus by

this Court in Cordis: the employees conduct the Mylan defendants’ business out of


                                               41
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                                                                                      venue
their residences while advertising as much, and maintain Mylan products in discovery
venue
discovery   . 769 F.3d at 734.
                                                                                    venue
            The district court, however, suggested that if the products had been discovery in

the employees’ homes, the inference that the Mylan defendants had ratified the

residences as places of business would have been strengthened. See Appx61 (“In
                                    venue
fact, the use of separate           discovery        outside the employees’ homes lends

credence to the Court’s conclusion that MPI has not ratified its employees’

residences as its own place of business.”). This analysis not only mistakenly

evaluates each place of business independently, failing to consider the Mylan

defendants’ collective business locations and activities in the district, but also

encourages putative defendants to escape venue merely by segregating work

functions between different locations. This Court should not ratify such means of

evading otherwise proper venue. See Ithaca Ventures k.s. v. Nintendo of Am. Inc.,

2014 WL 4829027, at *7 (D. Del. Sept. 25, 2014) (There exists an “overriding

public policy throughout the federal court system to discourage parties’ attempts to

circumvent the . . . venue laws.”).

                  2.     The Regular And Established Places Of Business Of MPI
                         And Mylan Inc.’s Affiliates May Be Imputed To Them
            The “regular and established place of business” inquiry also is satisfied here

for MPI and Mylan Inc. based on their affiliates for which venue in the district is

proper.


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      This Court and others have recognized that associated entities and

employees are relevant to the analysis such that they can serve as the regular and

established place of business of the defendant even absent a showing of alter ego.

See Minn. Mining & Mfg. Co. v. Eco Chem, Inc., 757 F.2d 1256, 1265 (Fed. Cir.

1985) (“3M”) (“[V]enue . . . is proper with regard to one corporation by virtue of

the acts of another, intimately connected, corporation.”) (citing approvingly Leach

Co. v. General Sani-Can Manufacturing Co., 393 F.2d 183 (7th Cir. 1968));

Javelin Pharm., Inc. v. Mylan Labs. Ltd., 2017 WL 5953296, at *3-4 (D. Del. Dec.

1, 2017) (reading Cray “as having provided further support” to the imputation

theory adopted in 3M, and explaining that a regular and established place of

business can be created through other corporate entities having a regular and

established pace of business); Mallinckrodt IP v. B. Braun Med. Inc., 2017 WL

6383610, at *6 (D. Del. Dec. 14, 2017).

      As relevant to the venue inquiry here, the regular and established place of

business inquiry is met based on the places of business in New Jersey of Mylan

affiliate MLI and imputed to MPI and Mylan Inc. through Mylan N.V.

      As to MLI, this Court should consider MLI’s regular and established place

of business in the district as that of MPI and Mylan Inc. because the three entities

were virtually indistinguishable for purposes of the instant patent infringement
                                                     venue
claim. MLI’s ownership can be traced up to           discovery     , which are wholly-


                                          43
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                 venue     7
owned by discovery             MLI engaged in numerous activities on behalf of MPI and
                                                                    venue
Mylan Inc. in relation to the ANDA filing, including                discovery        pomalidomide for

use in the Proposed Products covered by the ANDA, and collaborating on

analytical reports related to the pomalidomide used in products subject to the

ANDA.           See, e.g., Appx2487-2488 (listing “               confidential venue discovery   ” as the
venue                                                                    venue
discovery   ); Appx2494-2496; Appx2499. MLI had only one discovery , who was also an
venue
discovery    of Mylan Inc. See Appx2408; Appx2531-2532. And MLI portrayed itself

as “doing business as” MPI in government records. See, e.g., Appx2534. MLI had

a physical location in South Orange, New Jersey through 2017. Appx2329. When
                                      venue
MLI dissolved in late 2017, a         discovery        employee signed the lease termination
                                                                                                 venue
and Mylan issued a notice that all correspondence should go to                                   discovery


Appx2410, Appx2517, Appx2528.

            This overlap in the activities of MLI with MPI and Mylan Inc. supports a

finding that MLI’s business was “of the defendant[s].” See, e.g., Cray, 871 F.3d at

1363-64 (explaining that similarity in activities between the defendant in its

recognized places of business and activities in the alleged place of business may

inform the “of the defendant” inquiry).


7                                                                                                      venue
   Before its dissolution at the end of 2017, MLI was wholly-owned by discovery
       venue
       discovery       , which is wholly-owned by           confidential venue discovery      ,
                            venue                                   venue
which is wholly-owned by discovery, which is wholly-owned by discovery               , which is
                                    venue
indirectly wholly-owned by          discovery Appx2405-2406.


                                                  44
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       Indeed, the collective business of Mylan entities conducted at physical

places in the district, ratified by Mylan N.V. (for which venue is indisputably

proper under 28 U.S.C. § 1391(c)(3)) through its treatment of Mylan entities as one

company, confirms venue is proper in the district. Mylan N.V. is a publicly-traded

holding company that sits at the top of the Mylan family of companies. Appx326-

327.   Mylan has described itself as “One Mylan,” with a “horizontally and

vertically integrated platform with global scale,” Appx327, and portrays itself as a

“one-stop shop,” Appx2687. When Mylan’s New Jersey subsidiary Dey Pharma

changed its name to “Mylan Specialty” in 2012, Mylan’s CEO stated that

“operating under one brand will allow us to speak with a more unified and

powerful voice.” Appx525.8

       The interrelatedness of Mylan N.V.’s subsidiaries and affiliates (including

MPI and Mylan Inc.) and their operations supports imputation of venue between

Mylan entities. MPI and Mylan Inc. employees who reside in New Jersey all use

one “@mylan.com” email domain address, showing that they are seamlessly part
8
   See also Appx529 (in portraying Mylan as a single entity: “[w]hen looking
across our entire U.S. portfolio, one out of every 13 prescriptions filled – brand-
name or generic – is a Mylan product”); Appx2690 (stating that Mylan, including
all Mylan entities, has had “[m]ore generic drug applications approved by FDA
over the last two years than any other company”); Appx531 (privacy statement
explaining that “[t]he term ‘Mylan,’ ‘we,’ and ‘us’ includes Mylan Inc. and our
affiliates and subsidiaries”) (emphasis original); Appx537 (CEO Heather Bresch
characterizing all of the Mylan family, products, employees, and manufacturing
sites as part of a single Mylan in her Congressional testimony).


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of “One Mylan.” See, e.g., Appx2681, Appx2683. Likewise, Mylan uses one

website in the United States—www.mylan.com—with one hiring webpage for all

Mylan entities, see Appx541-542, one newsroom for press releases involving

products from various subsidiaries, see Appx544, Appx547, and the same

customer-service email address for products from supposedly different entities, see

Appx549, Appx553 (use of customer.service@mylan.com for both Mylan

Specialty and Mylan Institutional products). Mylan uses the same logo on its

employees’         venue
                   discovery         and for its products (and will use that same logo on its

Proposed Products if its ANDA is approved). Appx689, Appx692 (collectively

showing the same logo on the Mylan Specialty EpiPen ® product and Mylan’s

Proposed Products).            Employees of one Mylan entity report to employees of
                                                                         venue
another Mylan entity. See Appx2700, Appx2705 (showing discovery employee venue
                                                                         discovery

                                            venue
reporting to venue
             discovery          employee discovery ).9
                         venue
       Moreover,         discovery     attorneys typically review the ANDA Paragraph IV

certifications, which venue
                      discovery files. See Appx2383, Appx2386.
                                                              10
                                                                 And Mylan entities

have requested that government agencies treat their affiliates as one. Appx774. In

9
    In fact, one of Mylan Inc.’s employees who worked on Mylan’s ANDA did not
                                                                venue
know which Mylan entity employed him. A2695 (“Q:                discovery  A:
venue
discovery Q:        confidential venue discovery A: discovery .
                                                    venue

                                                         venue                     venue
10
    Mylan Inc.’s legal department “     discovery       to all       discovery
           venue                                  venue
for        discovery     ” Appx2389, and all discovery         go to Mylan Inc.,
Appx2385.


                                                    46
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petitions for inter partes review before the PTO, MPI has described Mylan Inc. and

Mylan N.V. as the “real parties in interest.” Appx2740. In other words, Mylan

Inc. and Mylan N.V. are “clear beneficiar[ies]” that have “a preexisting,

established relationship with the petitioner [MPI].” Applications in Internet Time,

897 F.3d at 1351.11

      Additionally, Mylan submits letters to government agencies like the FDA

that are sent by MPI, on behalf of Mylan Inc., and signed by an individual at

Mylan N.V. See, e.g., Appx721-726; see also Appx728-743 (sent on behalf of

MPI from Mylan employees who “received or expect to receive payments from”

Mylan Inc.); Appx745, Appx772 (citizen petition from Mylan Specialty signed by

employee of Mylan Inc.). And Mylan N.V. treats its subsidiaries’ products as its

own. See Appx544, Appx546, Appx571 (testimony of Mylan N.V. witness stating

that Mylan “sell[s] more than 635 products in the United States” and “has more

than 200 ANDAs pending with FDA”).            Mylan N.V. uses its subsidiaries to

prepare and file its NDAs and ANDAs, including the ANDA that is the subject of

this litigation. Appx118-120 (alleging MPI and Mylan Inc. prepare and/or aid in

the preparation and submission of ANDAs); Appx120 (alleging that Mylan N.V.
                                               venue
11
    The ANDA here includes references to “ discovery     ,” confirming the corporate
entities worked together on the ANDA—just as the Complaint alleges. See
                                                                        venue
Appx1071 (providing “confidential intellectual property of              discovery ”);
                    venue                          venue
Appx1066 (          discovery      addressed to discovery     ); Appx1077 (naming
   venue
“ discovery ” as “Name of     venue
                              discovery     ”).


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controls and directs the conduct of MPI and Mylan Inc.). And Mylan Inc. holds

the intellectual property rights related to Mylan’s logo and other Mylan

subsidiaries’ products. See Appx707; Appx718.

      In sum, these facts demonstrate that the Mylan entities, including Mylan

N.V., Mylan Inc., MPI, and MLI do not preserve the “formalities of corporate

seperateness,” Javelin, 2017 WL 5953296, at *4. The Mylan entities act as one

entity, bolstering the conclusion that Mylan Inc. and MPI have a “regular and

established place of business” in the district.

             3.     The Mylan Defendants Have                  Committed         Acts   Of
                    Infringement In The District
      The district court correctly held on Mylan’s first motion to dismiss that each

of the Mylan defendants had committed acts of infringement in the district.

Appx42. This Court’s recent decision in Valeant does not dictate a different result

but instead confirms the district court’s holding.

                    (a)    The Mylan Defendants’ Actions Related To
                           Submission Of The ANDA Qualify As Acts Of
                           Infringement In New Jersey
      At the threshold, even under Valeant’s view that “acts of infringement”

should be limited to those acts that are “sufficiently related to the ANDA

submission,” 978 F.3d at 1384, acts of infringement have occurred in New Jersey.

      This Court recently held that venue under the second part of Section 1400(b)

is proper only in those districts in which acts sufficiently related to the submission


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of the ANDA occurred. See Valeant, 978 F.3d at 1384. An ANDA includes not

only the original application but also “all amendments and supplements to the

application.” 21 C.F.R. § 314.3. In Valeant, this Court opted to “not define what

all relevant acts involved in the preparation and submission of an ANDA might be,

leaving those questions for other cases where the precise contours are presented

and briefed.” 978 F.3d at 1384 n.8.

      At a minimum, the Paragraph IV notice and certification—by which an

ANDA filer notifies patent holders that their patents are allegedly invalid or will

not be infringed—must be included. As the Supreme Court has explained, the

“highly artificial” act of infringement under 35 U.S.C. § 271(e)(2) occurs only

when the ANDA filing contains a Paragraph IV certification. Eli Lilly & Co. v.

Medtronic, Inc., 496 U.S. 661, 678 (1990) (“That is what is achieved by

§ 271(e)(2)—the creation of a highly artificial act of infringement that consists of

submitting an ANDA or a paper NDA containing the fourth type of certification

that is in error as to whether commercial manufacture, use, or sale of the new drug

(none of which, of course, has actually occurred) violates the relevant patent.”

(emphasis added)). “An applicant who makes the fourth certification is required to

give notice to the holder of the patent alleged to be invalid or not infringed, stating

that an application has been filed seeking approval to engage in the commercial

manufacture, use, or sale of the drug before the expiration of the patent, and setting


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forth a detailed statement of the factual and legal basis for the applicant’s opinion

that the patent is not valid or will not be infringed.” Id. at 677. Thus, to make a

Paragraph IV certification, the applicant must provide the patent owner notice of

the ANDA. 21 U.S.C. § 355(j)(2)(B)(iv)(II).           As part of the Paragraph IV

certification, the ANDA must include documentation that the Paragraph IV notice

letter was received. 21 C.F.R. § 314.95(e). The governing regulations require

supplementation of the ANDA with an amendment that contains a return receipt or

a signature proof of delivery. Id.

      The receipt of the Paragraph IV letter providing notice is not only a

“relevant act” “sufficiently related to the ANDA submission,” Valeant, 789 F.3d at

1384 & n.8, but also an essential part of the ANDA submission. The receipt by the

patent holder of the Paragraph IV notice letter triggers the patent owner’s

infringement claim under § 271(e)(2). Eli Lilly, 496 U.S. at 677 (“Approval of an

ANDA or paper NDA containing the fourth certification may become effective

immediately only if the patent owner has not initiated a lawsuit for infringement

within 45 days of receiving notice of the certification.” (emphasis added)); see also

Eli Lilly & Co. v. Mylan Pharm., Inc., 96 F. Supp. 3d 824, 832 n.8 (S.D. Ind. 2015)

(“[I]t is the act of filing the ANDA and sending the Paragraph IV notice . . . that

creates harm by triggering a patent holder’s forty-five days to initiate litigation.”);




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see also 21 C.F.R. § 314.107(b)(3)(i)(A) (30-month stay begins on the “the later of

the date of receipt of the notice” letter by the patent owner).

      Here, the Mylan defendants sent the required Paragraph IV notice to

Celgene in New Jersey. Appx120. The Mylan defendants then, as part of the

ANDA submission, were required to provide to the FDA documentation

concerning the delivery of its notice letter to Celgene in New Jersey. 21 C.F.R.

§ 314.95. The mailing and receipt of the Paragraph IV notice letter, which must be

filed as an amendment to the ANDA, is an act “sufficiently related to the ANDA

submission.” Valeant, 978 F.3d at 1384.           Thus, under Valeant, the Mylan

defendants “committed an act of infringement” in New Jersey through the

Paragraph IV notice letter to Celgene in New Jersey.

                    (b)    The Artificial Act Of Infringement Stemming From
                           The ANDA Submission Extends Nationwide
      In addition, because this Court repeatedly has indicated that the act of

infringement committed in filing an ANDA is the manufacturing, marketing, and

sales that will take place upon approval of the ANDA, this “artificial” infringement

occurs wherever the product will be marketed and sold—generally, nationwide.

      Under 35 U.S.C. § 271(e)(2), the act of infringement occurs “if the purpose

of such submission is to obtain approval under such Act to engage in the

commercial manufacture, use, or sale of a drug … claimed in a patent or the use of

which is claimed in a patent before the expiration of such patent.” As this Court


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has held, this statutory language indicates the relevant infringement inquiry is

“whether, if a particular drug sought to be marketed were put on the market, it

would infringe the relevant patent.” Bristol-Myers Squibb Co. v. Royce Labs, Inc.,

69 F.3d 1130, 1135 (Fed. Cir. 1995) (emphases in original); see also Glaxo, Inc. v.

Novopharm, Ltd., 110 F.3d 1562, 1568 (Fed. Cir. 1997) (“[T]he statute requires an

infringement inquiry focused on what is likely to be sold following FDA

approval.”). Thus, an ANDA filing constitutes no infringement at all “unless the

ANDA seeks approval to manufacture, use, or sell the drug prior to expiration of a

patent that would otherwise be infringed by such manufacture, use, or sale, apart

from the provisions of § 271(e)(2).” Warner-Lambert Co. v. Apotex Corp., 316

F.3d 1348, 1356 (Fed. Cir. 2003) (emphases in original).

      In this regard, the “highly artificial” part of the § 271(e)(2) act of

infringement that the Supreme Court described, Eli Lilly & Co., 496 U.S. at 678, is

that “the allegedly infringing product has not yet been marketed,” Warner-

Lambert, 316 F.3d at 1355; see also Eli Lilly & Co., 496 U.S. at 678 (noting that

ANDA infringement claim concerns “whether commercial manufacture, use, or

sale of the new drug (none of which, of course, has actually occurred) violates the

relevant patent” (emphasis added)). “The act of infringement, which the Supreme

Court has called ‘highly artificial,’ is nevertheless a defined and very real act of

infringement that takes place wherever the ANDA filer seeks to market its


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product.” Acorda Therapeutics Inc. v. Mylan Pharms. Inc., 817 F.3d 755, 772 n.2

(Fed. Cir. 2016) (O’Malley, J., concurring) (citation omitted) (emphasis added).

Because nationwide approval is sought here (Appx118-120, Appx122), the

artificial infringement occurs nationwide and submission of the ANDA constitutes

an act of infringement in New Jersey. And, because the “act of infringement” for

the ANDA filing extends nationwide, the second portion of Section 1400(b) is met

for venue purposes in any district, including the District of New Jersey.

                       (c)   The Effects Of The Mylan Defendants’ Infringement
                             Are Felt In New Jersey
       Even were 35 U.S.C. § 271(e)(2) read more narrowly than the Supreme

Court has read it, an “act of infringement has been committed” in New Jersey in

this case because Section 1400(b), like other venue statutes for specific types of

claims, gives rise to venue in the district in which the effects of the challenged

action will be felt.

       Under basic rules of statutory construction, statutes in pari materia or

relating to the same subject matter should be interpreted in light of, and

consistently with, one another. See Wachovia Bank v. Schmidt, 546 U.S. 303, 315-

16 (2006) (“[U]nder the in pari materia canon, statutes addressing the same subject

matter generally should be read ‘as if they were one law.’”) (citations omitted);

Cook v. Wikler, 320 F.3d 431, 435 (3d Cir. 2003) (applying the in pari materia




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canon).12 This interpretive principle is especially applicable when the statutes

adopt similar language about the same subject matter. See, e.g., Oscar Mayer &

Co. v. Evans, 441 U.S. 750, 755 (1979) (construing a provision of the ADEA that

was “almost in haec verba with” a provision of Title VII to reflect judicial

constructions of the Title VII provision); Pichler v. UNITE, 228 F.R.D. 230, 245

(E.D. Pa. 2005), aff’d, 542 F.3d 380 (3d Cir. 2008) (“[C]ourts should look to

similarly phrased statutes to aid their interpretative labors.”).

      Section 1400(b), while related to venue for patent cases, is not the only

venue statute that dictates venue will be proper where an act has been committed

or has occurred. Both the venue statute for Federal Tort Claims Act actions and

for claims under Title VII of the Civil Rights Act of 1964 are venue-specific

statutes providing—like Section 1400(b)—that venue will lie in the district in

which an act has been committed or occurred. 28 U.S.C. § 1402(b) (venue proper

“only in the judicial district where the plaintiff resides or wherein the act or

omission complained of occurred”); 42 U.S.C. § 2000e–5(f)(3) (venue proper in

“any judicial district in the State in which the unlawful employment practice is

alleged to have been committed . . .”). As a result, Section 1400(b) must be


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      See also ANTONIN SCALIA & BRYAN A. GARNER, READING LAW: THE
INTERPRETATION OF LEGAL TEXTS 252 (2012) (because statutes are part of the
entire corpus juris, “laws dealing with the same subject . . . should if possible be
interpreted harmoniously”).


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construed in pari materia with these statutes. Lafferty v. St. Riel, 495 F.3d 72, 82

n.12 (3d Cir. 2007) (“Although §§ 1404(a) and 1406(a) address different

situations, the doctrine of in pari materia nevertheless applies because both

provisions deal with venue.”) (emphasis added); cf. Wachovia, 546 U.S. at 316

(holding canon did not apply to “venue and subject-matter jurisdiction” because

“they are not concepts of the same order.”).13

      Both the Title VII venue statute and the Federal Tort Claims Act venue

statute have been interpreted to include the judicial district where the effect of the

harmful act is felt. Reuber v. United States, 750 F.2d 1039, 1047 (D.C. Cir. 1984),

abrogated on other grounds by Kauffman v. Anglo-Am. Sch. of Sofia, 28 F.3d 1223

(D.C. Cir. 1994) (concluding venue proper under § 1402(b) in “the jurisdiction

where its effects are directed”); Passantino v. Johnson & Johnson Consumer

Products, Inc., 212 F.3d 493, 506 (9th Cir. 2000) (For Title VII claim, “venue is

proper in both the forum where the employment decision is made and the forum in

which that decision is implemented or its effects are felt [by the plaintiff].”); see

also Tamashiro v. Harvey, 487 F. Supp. 2d 1162, 1167 (D. Haw. 2006) (holding


13
    Courts do not require an absolute identity of subject matter for in pari materia
to be a relevant and applicable canon of statutory construction. See, e.g., Simpson
v. Union Oil Co., 377 U.S. 13, 24 (1964) (patent law and antitrust law are in pari
materia); Am. Cyanamid Co. v. FTC, 363 F.2d 757, 770 (6th Cir. 1966) (“The
Federal Trade Commission Act may be construed in pari materia with the
Sherman and Clayton Acts.”).


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venue proper in the District of Hawaii because effects of alleged failure to promote

were encountered there); Dean v. Handysoft Corp., 2005 WL 362662, *2 (E.D. Pa.

Feb. 16, 2006) (determining venue proper in Pennsylvania where effects of

employment decision were felt in Pennsylvania).

      In construing the second part of Section 1400(b) in pari materia with these

venue statutes, venue in the District of New Jersey is proper because the effects of

Mylan’s submission of its ANDA are felt in New Jersey. Acorda, 817 F.3d at 772

(O’Malley, J., concurring) (“[T]he targeted nature of an ANDA filing—which is

intended to challenge a particular patent owned by a known party with a known

location—makes the case at hand just like that in Calder—the harm is targeted

only to these Delaware companies, occurs only in Delaware, and is only triggered

by the filing of the ANDA.”); Appx120. As a result, even if the artificial act of

infringement associated with the ANDA submission technically occurs in one

location, Mylan has committed an act of infringement in New Jersey for purposes

of Section 1400(b) because the effects of it will be felt by Celgene, which is

located in New Jersey.

      C.    Venue Over MPI And Mylan Inc. Is Proper In New Jersey Under
            The General Venue Statute
      In the alternative, venue is proper over MPI and Mylan Inc. under 28 U.S.C.

§ 1391.




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      While the patent venue statute refers to its application in “[a]ny action for

patent infringement,” the scope of Section 1400(b) in reality is much narrower.

For instance, it does not apply to actions against foreign entities, see In re HTC

Corp., 889 F.3d 1349, 1361 (Fed. Cir. 2018), and it does not apply to declaratory

judgment actions for patent infringement, see, e.g., Jack Henry & Assocs., Inc. v.

Plano Encryption Techs. LLC, 910 F.3d 1199, 1203 (Fed. Cir. 2018), to which the

general venue statute applies.     While Section 1400(b) primarily targets past

infringement, Hatch-Waxman cases are more analogous to declaratory judgment

actions—they typically give rise to only certain types of forward-looking relief.

See Bristol-Myers Squibb, 2017 WL 3980155, at *6 n.8 (“In some ways, the

forward-looking nature of an infringement case under the Hatch-Waxman Act is

similar to an action for a declaratory judgment of non-infringement or invalidity of

a patent.”); Eli Lilly & Co. v. Eagle Pharm., Inc., 2018 WL 5314917, at *1 (D.

Del. Oct. 26, 2018) (holding venue proper under 28 U.S.C. §§ 1391 and 1400(b)

in Hatch-Waxman action).

      Here, Celgene’s patent infringement claims seek to prevent future

infringement through the marketing and sale of a generic version of Pomalyst ®.

Appx128-129. Under the general venue statute, venue is proper for a corporation

in any state “in which such defendant is subject to the court’s personal jurisdiction

with respect to the civil action in question.” 28 U.S.C. § 1391(c)(2). Venue in the


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district of New Jersey is thus proper as to both MPI and Mylan Inc. because both

MPI and Mylan Inc. are subject to personal jurisdiction in this district by having

prepared or facilitated the ANDA filing, the effect of which will be felt in New

Jersey. Acorda, 817 F.3d at 760 (“Mylan’s ANDA conduct is ‘suit-related’ and

has a ‘substantial connection’ with Delaware because the ANDA filings are tightly

tied, in purpose and planned effect, to the deliberate making of sales in Delaware

(at least) and the suit is about whether that in-State activity will infringe valid

patents.”).

      Indeed, applying the general venue statute here is particularly appropriate

because it would further the policy goals of the Hatch-Waxman Act. While the

Act gives patent holders to right to file the litigation and encourages efficient

adjudication of ANDA disputes, the narrow application of Section 1400(b) often

forces parallel litigation in different districts. Cf. Valeant, 978 F.3d at 1383, 1385.

And, if in fact the artificial act of infringement for ANDA purposes does not

extend nationwide, then applying the general venue statute to ANDA actions

would prevent ANDA filers from funneling litigation into their preferred venues by

selecting the point of ANDA submission. See id. at 1383. Accordingly, this Court

should hold that Hatch-Waxman actions are governed by the general venue statute

such that venue over MPI and Mylan Inc. is proper in the District of New Jersey.




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                                CONCLUSION
      This Court should reverse the district court’s dismissal of Defendants Mylan

Pharmaceuticals Inc., Mylan Inc., and Mylan N.V.

Dated: January 19, 2021              Respectfully submitted,

                                            /s/ F. Dominic Cerrito
Jennifer L. Swize                           F. Dominic Cerrito
JONES DAY                                   Eric C. Stops
51 Louisiana Ave.                           Ellyde R. Thompson
N.W. Washington, DC 20001                   Frank C. Calvosa
(202) 879-3939                              QUINN EMANUEL URQUHART
jswize@jonesday.com                         & SULLIVAN, LLP
                                            51 Madison Ave., 22nd Floor
Matthew J. Hertko                           New York, NY 10010
JONES DAY                                   (202) 849-7000
77 W Wacker Dr.                             (202) 849-7100 (fax)
Chicago, IL 60601                           nickcerrito@quinnemanuel.com
(714) 557-7990                              ericstops@quinnemanuel.com
mhertko@jonesday.com                        ellydethompson@quinnemanuel.com
                                            frankcalvosa@quinnemanuel.com

                                            Attorneys for Appellant Celgene
                                            Corporation




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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


      CELGENE CORPORATION,
                                                         Civil Action No. 17-3387 (ES) (MAH)
                              Plaintiff,
                       v.

      HETERO LABS LIMITED, HETERO
      LABS LIMITED UNIT-V, HETERO
      DRUGS LIMITED, HETERO USA, INC.,
      AUROBINDO PHARMA LIMITED,
      AUROBINDO PHARMA USA, INC.,
      AUROLIFE PHARMA LLC, EUGIA
      PHARMA SPECIALTIES LIMITED,
      APOTEX INC., APOTEX CORP.,
      MYLAN PHARMACEUTICALS, INC.,
      MYLAN INC., MYLAN, N.V.,
      BRECKENRIDGE PHARMACEUTICAL,
      INC., and TEVA PHARMACEUTICALS
      USA, INC.,                                               OPINION (FILED UNDER
                                                                TEMPORARY SEAL) 1
                               Defendants.


  I.      INTRODUCTION

          This matter comes before the Court by way of Defendants Mylan Pharmaceuticals Inc.,

  Mylan Inc., and Mylan, N.V.’s (the “Mylan Defendants”) renewed Motion to Dismiss for Improper

  Venue and Failure to State a Claim. See Defs.’ Mot. to Dismiss, Apr. 13, 2020, D.E. 687. The




  1
   The Court has temporarily filed this Opinion under seal in an abundance of caution, because the
  parties filed much of the briefing and accompanying declarations and exhibits under seal. If the
  parties conclude that any part of this Opinion contains confidential information or highly sensitive
  material, they shall file a motion to seal under Local Civil Rule 5.3 by September 25, 2020.



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  Court has considered the parties’ submissions, and held oral argument on August 26, 2020. For

  the reasons set forth below, the Court will grant the Mylan Defendants’ motion. 2

  II.    BACKGROUND

         The instant litigation concerns various drug manufacturers’ filings of Abbreviated New

  Drug Applications (“ANDA”) to market generic versions of Plaintiff Celgene Corporation’s

  (“Celgene”) pomalidomide product, POMALYST®. See Compl. ¶ 1, May 11, 2017, D.E. 1. The

  patents-in-suit pertain to methods for treating multiple myeloma and pharmaceutical compositions

  containing pomalidomide. See id. ¶¶ 26-29, 31.

         Celgene holds an approved New Drug Application (“NDA”) under Section 505(a) of the

  Federal Food Drug and Cosmetic Act, 21 U.S.C. § 355(a), for its pomalidomide product. See id.

  ¶ 30. The patents-in-suit are listed in the Food and Drug Administration’s (“FDA”) “Approved

  Drug Products with Therapeutic Equivalence Evaluations” publication. Id. ¶ 32. As part of the

  ANDA process, various generic manufacturers submitted written certifications to the FDA

  alleging that the claims of the patents-in-suit are invalid, unenforceable, and/or will not be

  infringed by the activities described in their respective ANDAs (“Paragraph IV Certifications”).

  See id. ¶¶ 86-104; 21 U.S.C. § 355(j)(2)(A)(vii)(IV). The generic manufacturers thereafter notified

  Celgene of those assertions, as well as their intentions to seek the FDA’s approval to market their

  proposed products prior to the expiration of the patents-in-suit. See Compl. ¶¶ 86-104.

         On May 11, 2017, Celgene filed patent-infringement actions against the Mylan Defendants

  and other manufacturers pertaining to United States Patents Nos. 8,198,262 (“’262 patent”);

  8,673,939 (“’939 patent”); 8,735,428 (“’428 patent”); and 8,828,427 (“’427 patent”). See Compl.



  2
    Pursuant to 28 U.S.C. § 636(c), the parties have consented to the Undersigned’s jurisdiction to
  resolve this motion. See Notice, Consent & Reference of the Mylan Defs.’ Renewed Mot. to
  Dismiss to a Magistrate Judge, May 14, 2020, D.E. 710.


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  ¶¶ 86-285 (the “-3387 Consolidated Action”). As alleged in the Complaint, the Mylan Defendants’

  submission of an ANDA to engage in the commercial manufacture, use, sale, offer for sale, or

  importation into the United States of 1 mg, 2 mg, 3 mg, and 4 mg pomalidomide capsules prior to

  the expiration of the patents-in-suit “constitutes infringement of one or more of the claims of

  [those] patent[s] under 35 U.S.C. § 271(e)(2)(A).” Id. ¶¶ 134, 179, 224, 269.

         After the filing of those actions, the United States Patent and Trademark Office issued to

  Celgene United States Patent Nos. 9,993,467 (“’467 patent”); 10,093,647 (“’647 patent”);

  10,093,648 (“’648 patent”); 10,093,649 (“’649 patent”); and 10,555,939 (“᾿5,939 patent”). This

  Court consolidated Celgene’s suits pertaining to the ’467 and ’5,939 patents with the -3387

  Consolidated Action. See Order, Apr. 27, 2020, D.E. 695; Order, Jan. 31, 2019, D.E. 294. Trial

  is scheduled to begin in the -3387 Consolidated Action on January 11, 2021. The civil action

  concerning the ’647, ’648, and ’649 patents has a control trial date of April 15, 2021. See generally

  Celgene Corp. v. Mylan Pharms. Inc., No. 19-5802 (D.N.J.) (“2019 Action”).

         1. The Mylan Defendants’ First Motion to Dismiss

         On August 9, 2017, the Mylan Defendants moved to dismiss the Complaint for improper

  venue pursuant to the Federal Rule of Civil Procedure 12(b)(3). See Mot. to Dismiss, Aug. 9,

  2017, D.E. 56. The Mylan Defendants further asserted that the claims against Mylan Inc. and

  Mylan, N.V. must be dismissed pursuant to Rule 12(b)(6) based on their assertion that Mylan

  Pharmaceuticals Inc. (“MPI”) was the sole entity who submitted the ANDA to the FDA. See id.

         This Court denied the motion without prejudice. See Order, Mar. 2, 2018, D.E. 151. In an

  accompanying Opinion, the Court first held that “the Mylan Defendants do not ‘reside’ in New

  Jersey for purposes of” the patent venue statute, 28 U.S.C. § 1400(b). Op. at 4, Mar. 2, 2018, D.E.

  150. Turning to the second half of the statute, the Court adopted the United States District Court




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  for the District of Delaware’s interpretation of the phrase “where the defendant has committed acts

  of infringement.” Id. at 4-6. Rather than encompassing just past acts, the Court held that “‘acts of

  infringement’ in the Hatch-Waxman context include acts ‘the ANDA applicant non-speculatively

  intends to take if its ANDA receives final FDA approval, plus steps already taken by the applicant

  indicating its intent to market the ANDA product in this District.’” Id. (quoting BristolMyers

  Squibb Co. v. Mylan Pharms. Inc. (“BMS”), No. 17-379, 2017 WL 3980155, at *13 (D. Del. Sept.

  11, 2017)). The Court was unpersuaded by the Mylan Defendants’ attempt to distinguish BMS,

  and opined that “Mylan’s argument would be stronger . . . if other district courts in this Circuit did

  not follow BMS after [In re Cray, 871 F.3d 1355 (Fed. Cir. 2017)] issued.” Id. at 5-6. The Court

  thus held that the Mylan Defendants failed to meet their burden to show that they did not commit

  “acts of infringement” within this district. Id. at 6.

         With respect to the “regular and established place of business” prong of 28 U.S.C. §

  1400(b), the Court held that venue-related discovery was appropriate because the Mylan

  Defendants’ motion predated the Federal Circuit’s instructive opinion in Cray. See id. at 6-7. The

  Court ordered that the Mylan Defendants could renew their motion to dismiss following the

  conclusion of said discovery. See Order, D.E. 151.

         2. Venue-Related Discovery

         On April 10, 2018, the Court adopted as modified the parties’ jointly proposed schedule

  for venue discovery. See Order, Apr. 10, 2018, D.E. 162. Delays quickly accrued, causing the

  parties to deviate from their proposed schedule. Following several modifications, the Court

  ordered, in relevant part, the parties to present any unresolved discovery disputes to the Court on

  or before October 18, 2018; and that venue-related discovery would close on the later of December




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  13, 2018, or forty-five days after the Court’s resolution of any disputes. See Order, Sept. 10, 2018,

  D.E. 217. The Court further ordered that,

                 [f]or purposes of this litigation only, if Mylan does not renew its
                 Venue-Related Challenge within [fifty-nine] days of the completion
                 of venue-related discovery, Mylan shall be deemed to have waived
                 any defense or arguments under Fed. R. Civ. P. 12(b)(3) or Title 28,
                 Chapter 87 of the United States Code.

  Id. The parties had difficulties resolving their disputes prior to the October 18, 2018 deadline,

  which the Court subsequently extended to November 15, 2018. See Order, Nov. 5, 2018, D.E.

  243; Defs.’ Letter, Oct. 18, 2018, D.E. 235; Pl.’s Letter, Oct. 17, 2018, D.E. 233. On November

  6, 2018, the parties presented myriad disputes for the Court’s review. See Joint Letter, Nov. 6,

  2018, D.E. 244.

         By way of an Oral Opinion and Order dated January 30, 2019, the Court issued a decision

  on the parties’ disputes. See Oral Op., Feb. 1, 2019, D.E. 298; Order, Jan. 30, 2019, D.E. 292.

  The Court emphasized that

                 the parties’ joint letter presents disputes pertaining to the majority
                 of the discovery requests that Celgene has posed to the Mylan
                 Defendants. This Court’s ruling does not purport to resolve each
                 and every dispute concerning each and every interrogatory and
                 request for production. Instead, the Court’s ruling is designed to
                 rule on a number of the larger issues in order to afford the parties
                 necessary guidance to resume their meet-and-confer on any
                 remaining discovery disputes, and the Court expects that the parties,
                 armed with its ruling today, will have the tools necessary to resolve
                 among themselves any remaining issues.

  Oral Op. at 3:1-12, D.E. 298.

         On March 18, 2019, Celgene and the Mylan Defendants informed the Court that they were

  “continuing to meet and confer regarding their remaining venue-related discovery disputes and, as

  directed . . . , are using the Court’s January 30 oral opinion as a guideline for resolving their

  disputes.” Joint Letter, Mar. 18, 2019, D.E. 326. The parties further informed the Court that they



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  would “propose a schedule for the remaining venue discovery deadlines shortly.” Id. No schedule

  was subsequently submitted for the Court’s review.

         On September 9, 2019, in light of the overwhelming number of merits-based discovery

  disputes that had arisen between Celgene and all of the defendants in the -3387 Consolidated

  Action, the Court appointed a Special Discovery Master for the purpose of making

  recommendations regarding any outstanding and forthcoming disputes. See Order, Sept. 9, 2019,

  D.E. 448. Celgene thereafter raised a number of venue-related disputes with the Special Discovery

  Master on October 28, 2019. See Pl.’s Letter, Oct. 28, 2019, D.E. 485. Celgene sought “materials

  (1) that the Court ordered Mylan to produce but that Mylan did not produce and (2) related to

  additional discovery disputes on which the parties attempted to follow the Court’s guidance in the

  Transcript Opinion but subsequently reached impasse.” Id. at 1-2. The Mylan Defendants

  objected to the production of additional documents, arguing, in short, that they had fully complied

  with the Court’s prior ruling and that the additional discovery sought was irrelevant to venue. See

  Defs.’ Letter, Nov. 8, 2019, D.E. 503.

         On December 23, 2019, the Special Discovery Master granted in part and denied part

  Celgene’s application to compel venue-related discovery. See Special Discovery Master Order

  No. 4, Dec. 23, 2019, D.E. 558. The Special Discovery Master ruled that

                 the discovery ordered herein shall be produced within 21 days in
                 order to provide Celgene with the information it needs to conduct a
                 30(b)(6) deposition on its alter-ego and other venue-related theories,
                 if it so chooses. Any 30(b)(6) deposition on venue issues shall be
                 noticed by Celgene within 10 days of receiving discovery from
                 Mylan and shall be conducted within 20 days thereafter . . . .

  Id. at 4-5. No objections were filed to the Special Discovery Master’s Order.




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           3. The Mylan Defendants’ Renewed Motion

           On April 13, 2020, the Mylan Defendants renewed their motion to dismiss. See Mot., Apr.

  13, 2020, D.E. 687. The parties have stipulated that resolution of this motion shall apply equally

  to the -3387 Consolidated Action, the 2019 Action, and the consolidated cases concerning the ’467

  and ’5,939 patents. See Order, May 13, 2020, D.E. 706; Order, Apr. 5, 2019, D.E. 336; 2019

  Action, Order, Apr. 22, 2019, D.E. 14. The Mylan Defendants seek dismissal for improper venue

  pursuant Rule 12(b)(3). They also seek the dismissal of the claims against Mylan Inc. and Mylan,

  N.V. for failure to state a claim upon which relief may be granted pursuant to Rule 12(b)(6).

  III.     MOTION TO DISMISS FOR IMPROPER VENUE

           Proper venue in patent infringement cases against domestic corporations is governed by 28

  U.S.C. § 1400(b). See TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 137 S. Ct. 1514, 1518

  (2017). The statute “is intended to be restrictive of venue in patent cases compared with the broad

  general venue provision.” In re ZTE (USA) Inc., 890 F.3d 1008, 1014 (Fed. Cir. 2018). When a

  case has been filed in the incorrect district, the district court “shall dismiss, or if it be in the interest

  of justice, transfer such case to any district or division in which it could have been brought.” 28

  U.S.C. § 1406(a). Celgene bears the burden of establishing that this district is the proper venue

  for these suits against the Mylan Defendants. See ZTE, 890 F.3d at 1013.

         1. Forfeiture of the Venue Objection

           Before the Court can reach the merits of the venue objection, the Court must first address

  Celgene’s argument that the Mylan Defendants have forfeited their right to challenge venue at this

  late stage of the litigation. See Pl.’s Br. at 2-6, May 29, 2020, D.E. 717. Celgene contends that

  “Mylan has delayed and obstructed the Court-ordered discovery” throughout the approximately




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  two years that elapsed between the Court’s decision on the original motion and the filing of the

  renewed motion. Id. at 3. According to Celgene,

                 if Mylan had any interest in expediting its objection to venue in this
                 District—as opposed to strategically waiting to file its motion until
                 the eve of trial—it should have at least: (1) agreed to use the original
                 discovery confidentiality order for venue-related discovery; (2) not
                 repeatedly fought Celgene’s discovery requests; and (3) quickly
                 produced the requested discovery.

  Id. at 5. Celgene also emphasizes that “Mylan has worked with a team of five other defendants . .

  . to develop litigation strategies,” and has “collaborat[ed] with the joint defense group . . . to file

  three sets of joint invalidity contentions, file numerous joint motions to compel, conduct many

  joint depositions of Celgene’s witnesses, and to file joint invalidity expert reports for all asserted

  patents.” Id. Were litigation to begin anew elsewhere, Celgene continues, it would involve a

  significant duplication of effort and would pose the risk of inconsistent outcomes. See id. at 5-6.

  Based on the foregoing, Celgene submits that the motion should be denied. Id. at 6.

         The Mylan Defendants, unsurprisingly, deny Celgene’s accusations of delay. See Defs.’

  Reply Br. at 12-14, June 5, 2020, D.E. 721. They stress that venue discovery was mired with

  disputes given the overbreadth of Celgene’s requests, that they have unambiguously challenged

  venue since the outset of this litigation, and that they have adhered to all Court orders regarding

  venue discovery. See id. Accordingly, the Mylan Defendants submit that this motion is ripe for a

  ruling on the merits. Id.

         Incident to a district court’s inherent authority to ensure the orderly and expeditious

  disposition of cases, the Federal Circuit has recognized circumstances beyond Rule 12 for a

  defendant’s forfeiture of the right to challenge venue. See In re Micron Tech., Inc., 875 F.3d 1091,

  1100-01 (Fed. Cir. 2017) (citing Dietz v. Bouldin, Inc., 136 S. Ct. 1885, 1891 (2016)). The Federal

  Circuit has explained “that discretion under ‘[t]his authority must be exercised with caution’ to



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  avoid impairment of, among other things, the congressionally granted venue rights.” In re Oath

  Holdings Inc., 908 F.3d 1301, 1305 (Fed. Cir. 2018) (quoting Micron, 875 F.3d at 1101). And, of

  course, “[j]ust because a district court has the inherent power to [impose forfeiture] does not mean

  that it is appropriate to use that power in every case.” Columbia Sportswear N. Am., Inc. v. Seirus

  Innovative Accessories, Inc., 942 F.3d 1119, 1133 (Fed. Cir. 2019) (quoting Dietz, 136 S. Ct. at

  1893).

           Without seeking to set forth an exhaustive list of circumstances under which a party may

  forfeit a venue objection, the Federal Circuit has noted that “a scenario that presents at least an

  obvious starting point for a claim of forfeiture” involves “a defendant’s tactical wait-and-see

  bypassing of an opportunity to declare a desire for a different forum, where the course of

  proceedings might well have been altered by such a declaration.” Micron, 875 F.3d at 1102. The

  Federal Circuit also has observed that the objection’s proximity to trial is a relevant consideration.

  See Chamberlain Grp., Inc. v. Techtronic Indus. Co., 935 F.3d 1341, 1351 (Fed. Cir. 2019)

  (“Congress has provided express statutory confirmation of judicial authority to consider the

  timeliness and adequacy of a venue objection[.]” (quoting Micron, 875 F.3d at 1101)); Micron,

  875 F.3d at 1102 n.4 (collecting cases wherein the Federal Circuit denied mandamus from the

  denial of a venue objection that was raised less than three months before trial); see also 28 U.S.C.

  § 1406(b) (“Nothing in this chapter shall impair the jurisdiction of a district court of any matter

  involving a party who does not interpose timely and sufficient objection to the venue.”). The

  Federal Circuit also has suggested that judicial efficiency and other “interests of the judicial system

  and of other participants in the case” may factor into the forfeiture calculus. Micron, 875 F.3d at

  1102; see also Oath Holdings Inc., 908 F.3d at 1306 (noting that “respondents have not shown that

  the judicial interest in economy could support a determination of forfeiture of venue rights”




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  because “[t]he record simply does not indicate the type of significant judicial investment that

  might, in some circumstances, support a determination of forfeiture”).

         A finding of forfeiture is not warranted here. The parties have been litigating the issue of

  venue since the denial of the original motion to dismiss. The Court disregards the parties’ finger-

  pointing on the question of who bears the blame for the delay associated with the Court-ordered

  venue discovery. The Court has not kept a proverbial scorecard tallying the parties’ respective

  wins and losses regarding each dispute that arose. Nor does the Court intend to peek behind the

  curtain to ascertain whether either party failed to adequately meet and confer regarding their

  disputes throughout the discovery period. Suffice it to say that the Court endeavored, in the words

  of the Special Discovery Master, to grant Celgene’s reasonable requests for discovery “without

  unduly burdening Mylan with unnecessary, overbroad discovery demands for materials not

  reasonably directed toward the theories of venue proffered by Celgene.” See Special Discovery

  Master Order at 2, Dec. 23, 2019, D.E. 558. Moreover, forfeiture of a venue challenge is not

  intended to supplant existing remedies like Rule 37 for discovery violations, none of which was

  imposed here. Accordingly, this case does not involve the “tactical wait-and-see” approach that

  the Micron court disfavored.

         As for the remaining considerations, the motion’s proximity to trial is no longer an issue

  given that neither the -3387 Consolidated Action nor the 2019 Action is scheduled to proceed to

  trial this year. The Court also finds that the considerations of judicial economy and the expenditure

  of judicial resources weigh neutrally. The instant Hatch-Waxman case is not a simple infringement

  action by a patentee against a single putative infringer; rather, the -3387 Consolidated Action

  involves fourteen defendants who have largely coordinated their defenses to Celgene’s

  infringement claims. Celgene and the other generic pharmaceutical manufacturers will proceed to




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  trial in this District irrespective of the outcome of this motion. The participation of a particular

  defendant group does not materially change the substantive issues that the Court must resolve after

  the conclusion of trial. Nor does the Mylan Defendants’ continued participation in this action have

  any meaningful impact on the remaining pretrial proceedings or trial itself from a procedural

  perspective. In short, having completed the Court-ordered discovery, the Mylan Defendants are

  entitled to a ruling on whether venue is proper in this district.

      2. Standard of Review

         The Court must pause again to address certain preliminary issues before reaching the merits

  of the Mylan Defendants’ motion; this time, the appropriate pleading standard and the burden of

  proof. Normally, the Court’s starting place on a motion to dismiss for improper venue would be

  the allegations set forth in the Complaint. The general rule is that “[t]he Court will accept any

  venue-related allegations in the complaint as true, unless they are contradicted by the defendant’s

  evidence.” Novartis Pharm. Corp. v. Accord Healthcare Inc., No. 18-1043, 2019 WL 2502535,

  at *2 (D. Del. June 17, 2019) (citing Bockman v. First Am. Mktg. Corp., 459 F. App’x 157, 158

  n.1 (3d Cir. 2012)).

         There are no venue-specific allegations here, perhaps because the Complaint in the -3387

  Consolidated Action predated TC Heartland LLC. There, the Supreme Court held that proper

  venue in a patent infringement action does not depend on whether the corporation is subject to

  personal jurisdiction in that particular judicial district. See TC Heartland LLC, 137 S. Ct. at 1517.

  Furthermore, before the Federal Circuit's decision in ZTE, whether Federal Circuit law governed

  the burden of proof was an unsettled question of law. Indeed, this Court initially held that regional

  circuit law applied, which would have obviated the need for Celgene to include venue-specific

  facts in its pleading. See Great W. Mining & Mineral Co. v. ADR Options, Inc., 434 F. App’x 83,




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  86-87 (3d Cir. 2011) (stating that “it is not necessary for the plaintiff to include allegations in his

  complaint showing that venue is proper”); Myers v. Am. Dental Ass’n, 695 F.2d 716, 724-25 (3d

  Cir. 1982) (holding that the defendant bears the burden of proving the affirmative defense of

  improper venue when venue is laid pursuant to 28 U.S.C. § 1391). The Mylan Defendants’ motion

  thus “raise[s] [several] interesting question[s] about the importance of a plaintiff’s operative

  pleading in a patent venue determination analysis.” 3 Incipio, LLC v. Argento Sc By Sicura Inc.,

  No. 17-1974, 2018 WL 4945002, at *2 (C.D. Cal. July 18, 2018).

         Celgene’s failure to adequately plead venue in the Complaint arguably dooms its

  opposition to the Mylan Defendants’ motion. In Westech Aerosol Corporation v. 3M Company,

  GTA-NHT, Inc., 927 F.3d 1378, 1381-82 (Fed Cir. 2019), the Federal Circuit affirmed the

  dismissal of a complaint based on the patentee’s failure to plead any facts showing that the

  defendant had a regular and established place of business within the district. After the defendant

  moved to dismiss the complaint for improper venue, the patentee sought leave to amend its

  complaint to assert facts sufficient under 28 U.S.C. § 1400(b). See id.at 1380. The district court

  obliged the patentee’s request, and denied the motion to dismiss without prejudice. Id. at 1381.

         The patentee’s amended pleading merely “parroted § 1400(b).” Id. at 1381. Consequently,

  the district court granted the defendant’s renewed motion to dismiss. Id. The patentee appealed

  to the Federal Circuit, “fram[ing] its appeal as a question of the proper pleading standards for

  venue.” Id. The Federal Circuit held that the patentee’s conclusory venue allegations were

  insufficient to survive a motion to dismiss. Id. at 1382. The Federal Circuit first reiterated its prior




  3
    None of the subsequent complaints against the Mylan Defendants contains any non-conclusory
  allegations regarding venue. See Celgene Corp. v. Mylan Pharms. Inc., No. 20-2608, Compl. ¶
  28, Mar. 10, 2020, D.E. 1 (“Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391
  and 1400(b).”); 2019 Action, Compl. ¶ 29, Feb. 14, 2019, D.E. 1 (stating same).


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  holdings that “the plaintiff has the burden of establishing proper venue under 28 U.S.C. § 1400(b),”

  and that “venue under the patent statute is proper when the facts show that the defendant has a

  regular and established place of business physically located within the judicial district.” Id.

  (citations omitted). In concluding that the amended complaint failed to meet those standards, the

  Federal Circuit emphasized that the patentee “failed to plead any facts showing [the defendant]

  had a regular and established place of business physically located in the [district].” Id (emphasis

  in original). The Federal Circuit explained:

                 [The patentee], in effect, claims that in lieu of pleading facts, it is
                 sufficient to parrot the language of § 1400(b). This is incorrect.
                 Simply stating that [the defendant] has a regular and established
                 place of business within the judicial district, without more, amounts
                 to a mere legal conclusion that the court is not bound to accept as
                 true. [The patentee’s] recitation of § 1400(b) is insufficient to
                 survive a motion to dismiss for improper venue.

                 A presumption that facts pleaded in the complaint are true does not
                 supplant a plaintiff’s burden to plead specific facts showing that the
                 defendant has a regular and established place of business physically
                 located in the judicial district.

  Id. (internal quotation marks omitted).

         There are two key differences between Westech Aerosol and the case at hand. First, the

  instant motion to dismiss comes after the conclusion of venue-based discovery. Celgene has

  therefore presented this Court with some factual assertions regarding venue. The parties have

  submitted witness declarations, deposition excerpts, answers to interrogatories, document

  produced in discovery, and public documents in support of their respective positions. Courts

  routinely look to facts outside of the pleadings when adjudicating venue objections. See Cray, 871

  F.3d at 1364 (evaluating the various venue facts submitted without discussing whether they had

  been plead in the operative complaint); Bristol-Myers Squibb Co. v. Aurobindo Pharma USA Inc.

  (“BMS II”), No. 17-374, 2018 WL 5109836, at *2 (D. Del. Oct. 18, 2018) (considering evidence



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  outside of the complaint on a renewed motion to dismiss pursuant to Rule 12(b)(3) following

  venue-based discovery).

         Second, the patentee in Westech Aerosol expressly sought leave to amend its venue

  allegations. See Westech Aerosol, 927 F.3d at 1383 (“[The patentee] alleged no facts in its second

  amended complaint to show venue was proper in the Western District of Washington despite the

  district court’s admonition that [the patentee] amend its complaint consistent with its Rule 11

  obligations.”). Celgene did not seek leave to amend the operative pleading to include factual

  allegations after the conclusion of the venue-based discovery. Nor did any party include a deadline

  to amend in their proposed discovery plan.

         Had the parties not engaged in venue discovery, the Court would likely grant this motion

  without prejudice to Celgene’s filing of an amended complaint that contains non-conclusory

  allegations concerning 28 U.S.C. § 1400(b)’s requirements. But since this Court has the benefit

  of a factual record, the Court will wade through the evidence to determine whether venue is proper.

         Turning to those proofs, the applicable evidentiary showing on a motion to dismiss for

  improper venue appears to be an open question. See Rensselaer Polytechnic Inst. v. Amazon.com,

  Inc., No. 18-549, 2019 WL 3755446, at *5 n.6 (N.D.N.Y. Aug. 7, 2019) (“There does not appear

  to be any Federal Circuit guidance on the requisite evidentiary showing for establishing § 1400(b)

  venue at the pleading stage . . . .”). Generally speaking, “[i]f the court relies on pleadings and

  affidavits, the plaintiff need only make a prima facie showing of venue.” 14D Charles Alan Wright

  & Arthur R. Miller, Federal Practice & Procedure § 3826 (4th ed. Rev. 2018). “If the court holds

  an evidentiary hearing, however, the plaintiff must demonstrate venue by a preponderance of the

  evidence.” Id. Based on the closely analogous situation of motion to dismiss pursuant to Rule

  12(b)(2), the prima facie standard would also apply where (1) the parties engaged in venue-based




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  discovery, (2) the pertinent facts are in dispute, and (3) the substantive determination can be made

  without an evidentiary hearing. See Polar Electro Oy v. Suunto Oy, 829 F.3d 1343, 1347–48 (Fed.

  Cir. 2016) (“[A] plaintiff need only make a prima facie showing of personal jurisdiction where . .

  . the parties conducted jurisdictional discovery, the jurisdictional facts are in dispute, and the

  district court determined personal jurisdiction without an evidentiary hearing.”); Celgard, LLC v.

  SK Innovation Co., 792 F.3d 1373, 1376-77 (Fed. Cir. 2015) (holding that that prima facie

  standard, and not preponderance-of-the-evidence standard, applied for motion to dismiss for lack

  of personal jurisdiction following jurisdictional discovery where no evidentiary hearing was

  requested).

         The parties have not requested an evidentiary hearing, and the Court concludes that such a

  hearing is unnecessary. See Murphy v. Schneider Nat'l, Inc., 362 F.3d 1133, 1139 (9th Cir. 2004)

  (“Whether to hold a hearing on disputed facts and the scope and method of the hearing is within

  the sound discretion of the district court.”). Although the crux of the parties’ disagreement

  concerns the legal conclusions that flow from Celgene’s proofs, the parties do dispute certain facts.

  See, e.g., Pl.’s Br. at 16 (asserting that the Mylan Defendants’ “facts concerning its employees

  show a one-sided, incomplete, and seemingly false picture”). As a result, Celgene must make only

  a prima facie showing of proper venue. “Under [the] prima facie standard, the court must resolve

  all factual disputes in the plaintiff’s favor.” Polar Electro Oy, 829 F.3d at 1347-48; see also

  Charles Schwab Corp. v. Bank of Am. Corp., 883 F.3d 68, 81 (2d Cir. 2018) (stating that a prima

  facie “showing entails making legally sufficient allegations of jurisdiction, including an averment

  of facts that, if credited[,] would suffice to establish jurisdiction over the defendant” (alteration in

  original) (quoting Penguin Grp. (USA) Inc. v. Am. Buddha, 609 F.3d 30, 34–35 (2d Cir. 2010))).




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      3. Application of the Venue Statute

          The patent venue statute provides that a civil action “may be brought in the judicial district

  where the defendant resides, or where the defendant has committed acts of infringement and has a

  regular and established place of business.” 28 U.S.C. § 1400(b). A domestic corporation “resides”

  only in its state of incorporation—not any district in which the corporation is subject to personal

  jurisdiction, as is the case for the general venue statute. See TC Heartland LLC, 137 S. Ct. at 1517,

  1520. It is undisputed that neither MPI nor Mylan Inc. resides in this district within the meaning

  of 28 U.S.C. § 1400(b). 4 See Op. at 4, D.E. 150; see also Compl. ¶¶ 20-22.

          To establish that a defendant has a “regular and established place of business” under the

  second prong of the patent venue state, the plaintiff must show: “(1) there must be a physical place

  in the district; (2) it must be a regular and established place of business; and (3) it must be the

  place of the defendant.” Cray, 871 F.3d at 1360 (holding that the home of an employee who

  worked remotely in the judicial district in which suit was filed was not a regular and established

  place of business of the defendant). Venue is improper if any of those three requirements are not

  satisfied. See id.

          The patentee must first show “a physical, geographical location in the district from which

  the business of the defendant is carried out.” Id. at 1362. That need not be a formal office space,

  but may be any physical place subject to a defendant’s control. See In re Google LLC, 949 F.3d

  1338, 1343 (Fed. Cir. 2020) (holding that “real property ownership or a leasehold interest in real

  property” are not necessary attributes of a “place” within the meaning of 28 U.S.C. § 1400(b)).




  4
    28 U.S.C. § 1400(b) does not govern venue as to foreign entities, such as Mylan N.V.; rather,
  they are subject to suit in any judicial district pursuant to 28 U.S.C. § 1391(c). See In re HTC
  Corp., 889 F.3d 1349, 1356-57 (Fed. Cir. 2018). Accordingly, the Court’s discussion of proper
  venue under 28 U.S.C. § 1400(b) is limited to MPI and Mylan Inc.


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  The “place” requirement can be satisfied where “a defendant use[s] its employees’ homes to store

  its ‘literature, documents and products’” or to “stor[e] inventory that the employees then directly

  [take] to clients.” Cray, 871 F.3d at 1360 (quoting In re Cordis Corp., 769 F.2d 733, 735 (Fed.

  Cir. 1985)). Similarly, “leased shelf space or rack space can serve as a ‘place’ under the statute .

  . . .” Google, 949 F.3d at 1343-44

         Second, the place of business must be “regular”—in other words, “steady, uniform, orderly,

  and   methodical”—as      well   as   “established”—meaning       “settled   certainly,   or   fixed

  permanently.” Cray, 871 F.3d at 1362–63 (alterations omitted). This Cray factor “requires the

  regular, physical presence of an employee or other agent of the defendant conducting the

  defendant’s business at the alleged ‘place of business.’” Google, 949 F.3d at 1345. A substantive

  analysis of the functions performed at the putative place of business must be undertaken. For

  example, there is a meaningful difference between an agent’s maintenance of equipment and “the

  actual producing, storing, and furnishing to customers of what the business offers.” Id. at 1346.

         Finally, the “place” “must be a place of the defendant . . . .” Cray, 871 F.3d at 1363

  (emphasis in original). Some form of ratification is required. Id. “Relevant considerations include

  whether the defendant owns or leases the place, or exercises other attributes of possession or

  control over the place.” Id. Courts may also consider “whether the defendant conditioned

  employment on an employee’s continued residence in the district or the storing of materials at a

  place in the district so that they can be distributed or sold from that place.” Id. Another relevant

  consideration includes the defendant’s representations to the public. See id. at 1363-64. That

  includes any advertising or marketing, use of the address in any physical or online directory, or

  the placement of the defendant’s name on a sign associated with the building itself. See id. at




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              See Godecki Decl., Exs. 31, 32.

         Based on several job postings, Celgene contends that these positions require living in the

  sales territory or within reasonable driving distance thereto. See Pl.’s Br. at 15. (citing Godecki

  Decl., Exs. 28-30). Celgene submits that MPI benefits from hiring its sales force for specific

  locations because, as the job postings state, these employees “work to ‘[a]chieve quarterly sales

  goals within the territory’ and ‘[l]everage [Mylan’s] sample program, literature and other items to

  ensure physician awareness of Mylan Products.’” Id. (quoting Godecki Decl., Ex. 29).

         The foregoing proofs fall short of satisfying the Cray factors. In regard to the     Mylan

  Inc. employees, Celgene has not put forth any evidence suggesting that Mylan Inc. has held out

  those employees’ homes as its place of business under the second and third Cray factors. The

  notation on a LinkedIn page that the Head of Global Risk is located in Basking Ridge, New Jersey,

  see Godecki Decl. Ex. 27, “indicates at most that [the employee] conducted business from the

  [District of New Jersey], not that [Mylan Inc.] established a place of business there,” Cray, 871

  F.3d at 1365. That is particularly true where, as here, the officer's LinkedIn page also suggests

  that her base or focus is the “Greater New York City Area.” Godecki Decl. Ex. 27. Nor is there

  any evidence that Mylan Inc. played any role in the selection of the location of these employees’

  homes, or that Mylan Inc. “believed a location within the [District of New Jersey] to be important

  to the business performed . . . .” Cray, 871 F.3d at 1365. As the Mylan Defendants’ affidavits

  bear out,

                                           Supplemental Decl. of Keith Meckstroth in Supp. of the

  Mylan Defs.’ Mot. to Dismiss (“Meckstroth Supplemental Decl.”) ¶ 8, Apr. 13, 2020, D.E. 688-

  7.; see also Second Supplemental Decl. of Keith Meckstroth in Supp. of the Mylan Defs.’ Mot. to




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  Dismiss (“Meckstroth 2nd Supplemental Decl.”) ¶¶ 20, Apr. 13, 2020, D.E. 688-8 (attesting that



                                          ). Celgene has not put forth evidence to the contrary.

         The evidence pertaining to MPI is a closer question, but ultimately does not carry the day.

  At the outset, evidence that the Mylan Defendants conduct business in New Jersey, in and of itself,

  is insufficient to establish a regular and established place of business within this State. The mere

  fact that revenue is generated from sales in this district is irrelevant. See Galderma Labs., L.P. v.

  Teva Pharm. USA, Inc., 290 F. Supp. 3d 599, 613 (N.D. Tex. 2017) (“[T]he fact that [a defendant]

  may derive revenue from sales activities in the district does not establish a physical place in the

  district, as required by the patent venue statute.”); see also Symbology Innovations, LLC v. Lego

  Sys., Inc., 282 F. Supp. 3d 916, 931 (E.D. Va. 2017) (“Revenue derived from the forum has no

  bearing on whether § 1400(b)'s requirements are met.”). Nor is the maintenance of a sales force

  akin to a regular and established place of business. See Westech Aerosol Corp., 927 F.3d at 1381,

  1382 n.1 (noting that the district court “agreed with [the defendant] that a sales presence in the

  judicial district did not, by itself, satisfy the patent venue statute”); Warner-Lambert Co. v. C.B.

  Fleet Co., 583 F. Supp. 519, 523 (D.N.J. 1984) (“Where a defendant corporation merely

  employs sales representatives within a district without owning, leasing or controlling any real

  property located in the district, courts have declined to find a regular and established place of

  business.”). The same is true with respect to the hotel stays by non-residents. Although hotel

  visits may serve a business purpose, those employees’ presence in this judicial district in that

  manner is by definition “sporadic”—not “regular and established.” Cray, 871 F.3d at 1362 (stating

  that “sporadic activity cannot create venue” and that a defendant’s presence “must for a meaningful

  time period be stable, established”).




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         Turning to the remaining factual averments and proofs submitted, which the Court views

  in a light most favorable to Celgene, the Court concludes that they do not establish a prima facie

  showing of proper venue as to MPI. There are no allegations or evidence that permit this Court to

  infer that MPI exercised any indicia of control over its employees’ homes, or that MPI reimbursed

  any expenses related to their residences. What Celgene has proffered includes



                               and various job postings. See Godecki Decl. Exs. 28-30, 35-37. For

  the reasons set forth below, the Court cannot infer from these documents that MPI has ratified the

  various employees’ residences in New Jersey; rather, these proofs “merely show that there exists

  within the district a physical location where an employee of the defendant carries on certain work

  for his employer.” Cray, 871 F.3d at 1366.

         The                                                                         would appear to

  help Celgene’s cause. See Godecki Decl., Ex. 37. However, the Federal Circuit has cautioned that

  “the mere fact that a defendant has advertised that it has a place of business or has even set up an

  office is not sufficient; the defendant must actually engage in business from that location.” Cray,

  871 F.3d at 1364. Nothing in the record suggests MPI’s business is actually carried out from this

  employee’s home. In fact,




                                See Regents of Univ. of Minn. v. Gilead Scis., Inc., 299 F. Supp. 3d

  1034,1042 (D. Minn. 2017) (noting that “[w]hile the Court agrees that Gilead’s employees service

  customers in Minnesota, whether through visits to healthcare providers or clinical trial facilities,

  this servicing occurs at the customer’s physical place, not Gilead’s”); Precision Fabrics Grp., Inc.




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  v. Tietex Int’l, Ltd., No. 13-645, 2017 WL 5176355, at *12 (M.D.N.C. Nov. 7, 2017) (“The listing

  of [an employee’s] residential address and mobile telephone number on his business card indicates

  little beyond the fact [the employee] conducted business in the district.”). Absent some suggestion

  to the contrary, this Court cannot conclude that the employees’ physical residence mattered to

  MPI’s business sufficient to constitute a regular and established place of business of MPI.

         Celgene has also introduced an undated job posting for a sales position in New Jersey with

  an unspecified Mylan entity. See Godecki Decl., Ex. 29. Assuming arguendo that the position is

  representative of MPI sales positions during the relevant time period, 5 the Court nonetheless finds

  that the most salient takeaway from the job posting does not benefit Celgene. The posting states

  that the desired applicant “[m]ust live within geography of responsibility or within reasonable

  driving distance.” Id. (emphasis added). As its plain language bears out, there is no requirement

  that the sales representatives actually live in New Jersey as a precondition for employment. A

  “reasonable driving distance” may cross state or district lines. The Federal Circuit has made clear

  that an employee’s ability to move his or her home “out of the district at his or her own instigation,

  without the approval of the defendant . . . cut[s] against the employee’s home being considered a

  place of business of the defendant.” Cray, 871 F.3d at 1363. Celgene makes much of the point

  that




  5
    The Court disregards the two other job postings in the record. The first posting is for a Mylan
  Specialty L.P. sales position in Boise, Idaho, and is dated May 5, 2020. See Godecki Decl., Ex.
  28. The other posting is for an account manager position with Mylan Institutional Inc. in the
  “Great Lakes” region, and is dated January 28, 2020. See id., Ex. 30. Those postings provide no
  insight on the state of affairs in New Jersey in May 2017. See Galderma Labs., L.P., 290 F. Supp.
  3d at 612 (“The Court determines proper venue from the facts as they existed at time the Plaintiffs'
  Original Complaint was filed. . . . [E]vidence about a different entity’s employment practices does
  not raise a fact issue as to whether [the defendant] employs sales representatives in the Northern
  District of Texas in 2017.”).


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                   Pl.’s Br. at 16 (emphasis removed). For their part, the Mylan Defendants submit

                       Celgene has not refuted that assertion.

         The final piece of evidence on which Celgene relies is MPI’s

                                                See Godecki Decl., Exs. 35-36.

  do not belong to MPI. Rather,

          Celgene does not contend that the          themselves are regular and established places of

  businesses. It appears that Celgene seeks to use the                    as evidence to buttress the

  significant of MPI’s presence in this District through its sales and marketing employees. See Pl.’s

  Br. at 15. That contention has no bearing on the crux of the Court’s analysis. In fact, the use of

                         outside of the employees’ homes lends credence to the Court’s conclusion

  that MPI has not ratified its employees’ residences as its own place of business.

         The aforementioned proofs can be contrasted with those identified by the Federal Circuit

  in Cordis. There, the Federal Circuit held that the defendant’s employees’ homes, which were

  used to store the defendant’s “literature, documents and products,” could constitute a “regular and

  established place of business.” Cordis, 769 F.2d at 737. The Federal Circuit rejected a mandamus

  request to reverse an order denying transfer for improper venue on the basis that the defendant

  used its employees’ homes “like distribution centers, storing inventory that the employees then

  directly took to its clients.” Cray, 871 F.3d at 1362 (citing Cordis, 769 F.2d at 735). Through two

  full-time sales representatives, the defendant sold cardiac pacemakers in the judicial district where

  it was sued. See Cordis, 769 F.3d at 735. The employees “complete[d] their paperwork and . . .

  other administrative tasks in their home offices,” “[b]oth claim[ed] an income tax deduction for

  these offices,” and utilized a secretarial service set up by their employer. Id. Both employees

  stored more than $30,000 worth of pacemakers in their homes. Clients, such as hospitals, could




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  obtain pacemakers directly from the employees’ stock without a purchase order. See id. The

  employee would thereafter obtain payment for the device and replenish his or her home inventory

  by filing the necessary paperwork. See id. Here, unlike in Cordis, the MPI



         At bottom, the Court’s conclusion does not turn on the resolution of disputed facts, but

  rather a dearth of facts that establish a prima facie case of proper venue through the presence of

  MPI and Mylan Inc. employees. This Court strained to credit the sparse, factual assertions

  contained in Celgene’s opposition, and drew every favorable inference in Celgene’s favor when it

  came to the exhibits. Based on this record, Celgene cannot impute the residences of MPI and

  Mylan Inc. employees to their respective employers for purposes of venue. 6

              b. Associated Entities

         Celgene has put forth several theories to impute various related entities’ presence to Mylan

  Inc. and MPI. Celgene submits that “associated entities . . . are relevant to the analysis such that

  they can serve as the regular and established place of business of the defendant; alter ego is not

  required.” Pl.’s Br. at 10. Celgene alternatively advances an alter ego theory based on the Mylan

  Defendants’ alleged disregard of corporate formalities. Celgene submits that “Mylan is effectively

  a single company, and Defendants, which are part of that tight-knit corporate family, operate as a

  unified front.” Id. at 17. According to Celgene, “[a]s one entity, all of Mylan’s presence in New

  Jersey is relevant, and further establishes that venue is proper as to MPI and Mylan Inc.” Id. at 20.

  Celgene argues that any subsidiary’s activities related to the ANDA must have been carried out

  for the benefit, and as an alter ego, of the Mylan Defendants. See id. at 13, 21. Specifically,




  6
   It necessarily follows that Celgene would also fail the preponderance-of-the-evidence standard
  were that standard to apply.


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  Celgene submits that MPI and Mylan Inc. have a regular and established place of business in this

  district through non-party Mylan Laboratories Inc. (“MLI”). See Pl.’s Br. at 12-14, 21 (citing

  Godecki Decl., Exs. 12-24). Celgene further contends that venue is proper as to MPI and Mylan

  Inc. based on them being alter egos of MLI, Mylan, N.V., and non-party Agila Specialities Inc.

  (“Agila”). See id. at 21-23.

          The Court first rejects Celgene’s argument that venue may be imputed to the Mylan

  Defendants through associated entities without consideration of whether the Mylan Defendants

  abused the corporate form. With respect to MLI, Celgene does not articulate with any specificity

  the legal basis for imputing MLI’s conduct to either MPI or Mylan Inc.—i.e., based on principles

  of agency—but simply suggests that MLI’s physical place of business is “of the defendant[s]”

  based on                                                           See id.at 12-13.

          The Federal Circuit has recognized that venue may be established pursuant to an alter ego

  or veil-piercing theory. See Minn. Mining & Mfg. Co. v. Eco Chems., Inc. (“3M”), 757 F.2d 1256,

  1265 (Fed. Cir. 1985) (affirming the district court’s ruling that venue was proper where individual

  shareholders “operated [the corporate defendant] without the oversight of a formal board of

  directors, without consulting the minority stockholders, and without adhering to the corporate

  formalities which normally serve to buttress the recognition of the corporation as a separate entity,”

  and where the shareholders “purposely manipulated [the corporate defendant] so as to thwart [the

  plaintiff’s] recovery of its judgment”); see also Pearson v. Component Tech. Corp., 247 F.3d 471,

  484 n.2 (3d Cir. 2001) (noting that “the tests employed to determine when circumstances justifying

  ‘veil-piercing’ exist are variously referred to as the ‘alter ego,’ ‘instrumentality,’ or ‘identity’

  doctrines”; that “the formulations are generally similar”; and that “courts rarely distinguish them”).

  The Federal Circuit has not held that affiliation alone is sufficient, even if a parent company ratifies




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  the acts of a related subsidiary. To the contrary, the overwhelming majority of courts have required

  some proof of abuse of the corporate form in order to impute venue to a subsidiary.

          The Court agrees with the majority view. “For purposes of venue, ‘[s]o long as a formal

  separation of [closely related] entities is preserved, the courts ordinarily will not treat the place of

  business of one corporation as the place of business of the other.’” EMED Techs. Corp. v. Repro-

  Med Sys., Inc., No. 17-728, 2018 WL 2544564, at *2 (E.D. Tex. June 4, 2018) (alterations in

  original) (quoting 14D Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure §

  3823 (4th ed. 2018)); see also Modern Font Applications LLC v. Peak Rest. Partners, LLC, No.

  19-221, 2020 WL 1692744, at *4 (D. Utah Apr. 7, 2020) (“As a general rule, a subsidiary’s

  presence in a venue cannot be imputed to a parent unless the corporation disregards corporate

  formalities, lacks formal corporate separateness, or the subsidiary is the parent corporation’s alter

  ego.”); Post Consumer Brands, LLC v. Gen. Mills, Inc., No. 17-2471, 2017 WL 4865936, at *3

  (E.D. Mo. Oct. 27, 2017) (“[E]xcept where corporate formalities are ignored and

  an alter ego relationship exists, the presence of a corporate relative in the district does not establish

  venue.”); Galderma Labs., L.P., 290 F. Supp. 3d at 611 (“A subsidiary's presence in the district

  cannot be imputed to the parent for venue purposes so long as the two entities maintain formal

  corporate separateness. This is true even if the parent corporation controls the subsidiary's

  operations and the companies share a unitary business purpose.” (internal citations omitted));

  Shapiro v. Ford Motor Co., 359 F. Supp. 350, 357 (D. Md. 1973) ( “[E]ven where there is a unitary

  business purpose to manufacture and sell to ultimate consumers, if the operations of the two or

  more functional components of that unitary business purpose are themselves vested in formally

  separate entities, then venue over one under § 1400(b) cannot be gained by treating the regular and

  established place of business of the other as the office of the former.”).




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           Celgene relies on a series of decisions from the United States District Court for the District

  of Delaware, wherein the court opined that “it follows from Cray that the ‘place’ of a corporate

  affiliate or subsidiary of a named defendant may, in at least some circumstances, . . . be treated as

  a ‘place of the defendant.’” Javelin Pharm., Inc. v. Mylan Labs. Ltd., No. 16-224, 2017 WL

  5953296, at *4 (D. Del. Dec. 1, 2017); see also Mallinckrodt IP v. B. Braun Med. Inc., No. 17-

  365, 2017 WL 6383610, at *4 (D. Del. Dec. 14, 2017); UCB, Inc. v. Mylan Techs., Inc., No. 17-

  322, 2017 WL 5985559, at *4 (D. Del. Dec. 1, 2017). The court stated that, in contrast with the

  ratification of an employee’s residence as a place of business, “it is likely more common for

  corporate parents to ‘establish’ or ‘ratify’ the place of business of their subsidiaries or other related

  corporate entities (with whom, for instance, they might share space).” Mallinckrodt IP, 2017 WL

  6383610, at *4. The court acknowledged that Cray did not address this legal theory, but

  nonetheless concluded that it was not “frivolous,” and therefore, sufficient to warrant venue-based

  discovery. Id. Critically, the court noted that “[a]mong the pertinent circumstances to be

  considered is whether the formalities of corporate separateness are preserved.” Id.

           This Court finds those cases to be inapposite. First, the Delaware court made the foregoing

  statements in the context of whether the patentee stated a non-frivolous basis to warrant venue-

  based discovery—not whether affiliation and ratification alone are sufficient on the substantive

  venue issue. Second, the Delaware court specifically acknowledged that a focal consideration is

  whether corporate formalities are observed—which is in accord with the Federal Circuit’s decision

  in 3M.     And finally, notwithstanding the proposition that “[m]odern businesses are fluid,

  amorphous entities that operate on an interstate and international level,” the Federal Circuit has

  repeatedly emphasized that the patent venue statute is construed narrowly. In re BigCommerce,

  Inc., 890 F.3d 978, 985 (Fed. Cir. 2018) (internal quotation marks omitted); see also Google, 949




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  F.3d at 1346. Because venue is based on the defendant’s regular place of business, a subsidiary’s

  presence in a judicial district should be imputed to the parent-defendant only when the subsidiary

  and parent are “alter egos” that operate without regard to their separate corporate identities.

          Accordingly, the Court views Celgene’s proofs through the lens of whether the Mylan

  Defendants disregarded the corporate form in their dealings with their respective subsidiaries and

  affiliates. If so, venue may be proper with respect to Mylan Inc. and MPI through the presence of

  associated entities in this district.

          “Since the alter ego issue is not unique to patent law,” regional circuit law governs.

  Wechsler v. Macke Int’l Trade, Inc., 486 F.3d 1286, 1295 (Fed. Cir. 2007). Courts in this Circuit

  in turn apply state law. See MSA Prod., Inc. v. Nifty Home Prod., Inc., 883 F. Supp. 2d 535, 540

  (D.N.J. 2012) (“State law governs the Court’s veil-piercing analysis.”).

                  Specifically, in New Jersey and most other jurisdictions, two
                  elements must be shown to pierce the corporate veil: “First, there
                  must be such unity of interest and ownership that the separate
                  personalities of the corporation and the individual no longer exist.
                  Second, the circumstances must indicate that adherence to the
                  fiction of separate corporate existence would sanction a fraud or
                  promote injustice.”

  Linus Holding Corp. v. Mark Line Indus., LLC, 376 F. Supp. 3d 417, 425 (D.N.J. 2019) (quoting

  State Capital Title & Abstract Co. v. Pappas Bus. Servs., LLC, 646 F. Supp. 2d 668, 679 (D.N.J.

  2009)). When assessing whether there is a unity of interest among related entities, courts consider

  the following factors:

                  [1] gross undercapitalization . . . ; [2] the failure to observe corporate
                  formalities . . . , [3] the insolvency of the debtor corporation at the
                  time, [4] siphoning of funds of the corporation by the dominant
                  stockholder, [5] non-functioning of other officers or directors,
                  absence of corporate records, and [6] the fact that the corporation is
                  merely a facade for the operations of the dominant stockholder or
                  stockholders.




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  Id. (citing Craig v. Lake Asbestos of Quebec, Ltd., 843 F.2d 145, 150 (3d Cir. 1988)). The proofs

  related to the foregoing factors must evince “complete dominion”; “a parent’s ‘significant control’

  of its subsidiary is insufficient.” Las Vegas Sands Corp. v. Ace Gaming, LLC, 713 F. Supp. 2d

  427, 445 (D.N.J. 2010) (quoting Craig, 843 F.2d at 150). Stated differently, “a plaintiff must

  allege that the parent ‘completely dominate[s] the finances, policy, and business practice with

  respect to the subject transaction’ to such a degree that the subsidiary has ‘no separate mind, will,

  or existence of its own.’” Ramirez v. STI Prepaid LLC, 644 F. Supp. 2d 496, 507 (D.N.J. 2009)

  (alteration in original) (quoting Craig, 843 F.2d at 150).

         As for the second prong, “piercing the corporate veil is . . .an equitable remedy designed

  to remedy a fundamental unfairness perpetrated under the guise of the corporate form.” Linus

  Holding Corp., 376 F. Supp. 3d at 425. “Thus, in the absence of extraordinary circumstances,

  such as fraud or injustice, a court will generally decline to pierce the corporate veil.” Id.; see also

  Las Vegas Sands Corp., 713 F. Supp. 2d at 444 (“Even in the presence of corporate dominance,

  liability generally is imposed only when the parent has abused the privilege of incorporation by

  using the subsidiary to perpetrate a fraud or injustice, or otherwise to circumvent the law.” (quoting

  N.J. Dept. of Envtl. Prot. v. Ventron Corp., 468 A.2d 150, 164 (N.J. 1983)).

                       i. Mylan’s Corporate Hierarchy

         The Court begins with an overview of Mylan’s corporate structure as set forth in the

  Complaint, Celgene’s proofs, and the uncontested evidence proffered by the Mylan Defendants.

  Mylan, N.V. is a corporation organized and existing under the laws of the Netherlands. See Compl.

  ¶ 20; Meckstroth Supplemental Decl., ¶ 10. Mylan Inc. is a corporation organized and existing

  under the laws of Pennsylvania, having a principal place of business in Canonsburg, Pennsylvania.

  See Compl. ¶ 22; Meckstroth Supplemental Decl. ¶ 17. Mylan, N.V.’s executives carry out their




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  duties from Mylan Inc.’s Canonsburg location. See Compl. ¶¶ 20, 74.



                                                               Meckstroth Supplemental Decl. ¶ 3.

  MPI is a wholly owned subsidiary of Mylan Inc., which in turn is indirectly wholly owned by

  Mylan, N.V. See Compl. ¶¶ 23-24; Mylan Defs.’ Second Supplemental Response to Interrogatory

  No. 8 (“2nd Supplemental Response to Rog. No. 8”), May 29, 2020, D.E. 717-2 at 45.



                                                       See Meckstroth 2nd Supplemental Decl. ¶¶ 7-

  11; Decl. of Keith Meckstroth in Supp. of the Mylan Defs.’ Mot. to Dismiss (“Meckstroth Decl.”)

  ¶¶ 5, 10-11, Apr. 13, 2020, D.E. 688-6. With respect to finances,



  Meckstroth Supplemental Decl. ¶ 3.

         Celgene seeks to establish proper venue through two non-party Mylan affiliates: MLI and

  Agila. MLI is a Delaware corporation that, before it dissolved in 2017, maintained an office in

  South Orange, New Jersey. See Meckstroth 2nd Supplemental Decl., Exs. A, C; 2nd Supplemental

  Response to Rog. No. 8, D.E. 717-2 at 45 (stating that MLI “filed a Certificate of Dissolution with

  an effective date of December 29, 2017”). MLI is



      2nd Supplemental Response to Rog. No. 8, D.E. 717-2 at 45. Agila is incorporated in the State

  of New Jersey, but does not own or lease any physical location in this State. See Meckstroth 2nd

  Supplemental Decl. ¶¶ 26, 28. Agila




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                                                               2nd Supplemental Response to Rog. No.

  8, D.E. 717-2 at 45.

                     ii. Mylan Laboratories, Inc.

         Celgene submits that                                           were carried out as an alter ego

  of the Mylan Defendants. Celgene further asserts that MLI’s physical presence in the District of

  New Jersey before its dissolution satisfies the Cray factors.

         Prior to its dissolution in 2017, MLI maintained a physical address in South Orange, New

  Jersey, see Meckstroch 2nd Supplemental Decl., Ex. C; possessed a wholesale license with the New

  Jersey Department of Health, see Godecki Decl., Ex. 12, D.E. 717-2 at 55; and

                                                                                                     see

  Godecki Decl., Exs. 13-15. Celgene asserts that MLI’s physical place of business satisfies the

  third Cray factor because

                                              Pl.’s Br. at 12. Celgene emphasizes that

                                                                                          see id. (citing

  Godecki Decl., Ex. 16); that



                         see id. (citing Godecki Decl., Exs. 17-18); and that

                                                                            that is the subject of this

  litigation, see Godecki Decl., Ex. 19.

         In addition to the foregoing, Celgene submits that the Mylan Defendants disregarded the

  corporate form with respect to MLI. Celgene notes that the termination of MLI’s lease in New

  Jersey was                                              ;




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             ; and that MLI has “portrayed itself as ‘doing business’ as Mylan Inc. in government

  records.” Id. at 13 (citing Godecki Decl., Exs. 11, 21-23).

         Celgene also relies heavily on the so-called “One Mylan” campaign as evidence that the

  Mylan Defendants are, in actuality, a single entity. Celgene points to examples of the Mylan

  Defendants’ intermingling, including statements by Mylan’s CEO referring to the various

  companies “operating under one brand”; employees’ use of a “mylan.com” email address; a single

  “newsroom,” hiring webpage, and customer-service email address across the companies; and the

  use of the same logo on products and business cards. Id. at 17-18 (citing Godecki Decl., Exs. 41-

  53). Celgene additionally notes that Mylan, N.V.’s executives operate out of the same location as

  Mylan Inc., that

                                                                     Id. at 18. Mylan Inc. also owns

  intellectual property rights to the logo and various subsidiaries’ products, while Mylan, N.V. holds

  out its subsidiaries’ products as its own. Id. at 18-19 (citing Godecki Decl., Exs. 47-48, 59-60).

         Celgene further emphasizes the Mylan Defendants’ “unified front” when it comes various

  regulatory filings. Id. at 18-20. This evidence includes Mylan Inc.’s request to the FDA that its

  affiliated entities be grouped together for the assessment of a Generic Drug User Fee Amendments

  II Program Fee, MPI’s representations in petitions for inter partes review that Mylan Inc. and

  Mylan, N.V. are the “real parties in interest,” and the submission of letters to agencies wherein

  each Mylan Defendant is associated. See Godecki Decl., Exs. 54, 58, 61-62.

         Even viewing the aforementioned proofs in the light most favorable to Celgene, the

  evidence does not support Celgene’s argument that MLI is an alter ego of any of the Mylan

  Defendants. Celgene has put forth no evidence that another Mylan entity “completely dominate[d]

  the finances, policy and business practice” of MLI, Ramirez, 644 F. Supp. 2d at 507 (internal




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  quotation marks omitted), that MLI is undercapitalized or insolvent, that its officers and directors

  are strawmen, or that MLI lacks its own books and records.

         The “One Mylan” campaign, as well as the Mylan Defendants’ use of a single website,

  email address, and logo across all of their affiliates, does not demonstrate that corporate formalities

  have been ignored.      “[T]he fact that the parent and subsidiary share the same ‘brand’ is

  insufficient.” Mills v. Ethicon, Inc., 406 F. Supp. 3d 363, 385 (D.N.J. 2019); see also Laverty v.

  Cox Enters., No. 18-1323, 2019 WL 351905, at *4 (D.N.J. Jan. 29, 2019) (holding that subsidiary

  was not alter ego of subsidiary where plaintiff relied “on general corporate and marketing

  statements that vaguely touch on the relationship” between parent and subsidiary). “Accepting

  [Celgene’s] position would extend the alter ego doctrine, such that entities utilizing the same

  brand, website, and policies would be imputed as alter egos.” Horowitz v. AT & T Inc., No. 17-

  4827, 2018 WL 1942525, at *9 (D.N.J. Apr. 25, 2018) (holding that “common marketing image

  and joint use of trademark logos” is insufficient to show alter ego).

         The                                is also insufficient to establish a corporate alter ego. See

  United States v. Bestfoods, 524 U.S. 51, 69 (1998) (stating that it is a “well established principle

  [of corporate law] that directors and officers holding positions with a parent and its subsidiary can

  and do ‘change hats’ to represent the two corporations separately, despite their common

  ownership”); BMS II, 2018 WL 5109836, at *4 (“[T]he fact that MPI and [its subsidiary] share

  one overlapping director does not demonstrate that corporate formalities have been ignored.”).

  Horowitz, 2018 WL 1942525, at *8 (“A parent company’s domination or control of its subsidiary

  cannot be established by overlapping boards of directors.”).

         Nor does                                                   move the needle. There is nothing

  improper about




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                             See Pearson, 247 F.3d at 485 (“[C]ourts have refused to pierce the veil

  even when subsidiary corporations use the trade name of the parent, accept administrative support

  from the parent, and have a significant economic relationship with the parent.”). The record does

  not indicate that the                   did not occur                    or that



         Furthermore, multi-faceted entities within the same corporate family may share certain

  administrative functions, such as accounting, legal, and real estate, without forfeiting their formal

  legal separateness. See Westfield Ins. Co. v. Interline Brands, Inc., No. 12-6775, 2013 WL

  6816173, at *22 (D.N.J. Dec. 20, 2013) (declining to pierce the corporate veil where documentary

  evidence “suggest[ed] a parent-subsidiary relationship in which the lines between the distinct

  entities are occasionally blurred by the entities themselves or third parties” and noting that

  “cooperation between the entities for certain administrative functions, such as tax and payroll, is

  also insufficient”); cf. Mark IV Transp. & Logistics v. Lightning Logistics, Inc., 705 F. App'x 103,

  107 (3d Cir. 2017) (applying Tennessee law and concluding that “the sharing of resources and

  personnel,” the use of the same attorneys, and the operation out of the same building “do not

  support piercing [the defendant’s] corporate veil or the imposition of alter ego liability”).

         Based on the foregoing, Celgene has not demonstrated such domination of MLI by the

  Mylan Defendants that would warrant piercing the corporate veil and imputing MLI’s physical

  presence in this district to either MPI or Mylan Inc. for venue purposes.

                     iii. Mylan, N.V.

         Celgene seeks to shoehorn proper venue as to Mylan Inc. and MPI based on them being

  alter egos of their foreign parent, Mylan, N.V., which is not subject to 28 U.S.C. § 1400(b). See

  HTC, 889 F.3d at 1356-57. Celgene submits that MPI and Mylan Inc. are instrumentalities of




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  Mylan, N.V. as a result of their                      disregard of the corporate form, and Mylan,

  N.V.’s claimed ownership of its subsidiaries’ products as its own. Pl.’s Br. at 21. Celgene

  emphasizes that Mylan, N.V. is a publicly traded holding company                               See

  id. Finally, Celgene surmises that Mylan Inc.



  Id. at 22.

          For many of the same reasons set forth above, the Court is not persuaded that Celgene’s

  proofs establish that MPI and Mylan Inc. are alter egos of Mylan, N.V. There is nothing inherently

  improper about Mylan, N.V.’s public-facing representations regarding “One Mylan” and its

  purported ownership of various subsidiaries’ products. See Horowitz, 2018 WL 1942525, at *9

  (“[A] company being ‘portrayed as a single brand to the public . . . does not demonstrate the

  necessary control by defendant parent over the subsidiaries.’” (quoting In re Enter. Rent–A–Car

  Wage & Hour Emp’t Practices Litig., 735 F. Supp. 2d 277, 323 (W.D. Pa. 2010), aff’d 683 F.3d

  462 (3d Cir. 2012)); In re Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust Litig.,

  No. 13 -2445, 2017 WL 4810801, at *11 (E.D. Pa. Oct. 25, 2017) (“[I]t is well recognized that a

  statement in an SEC filing in which a parent corporation is in some way consolidating by

  description its subsidiary’s efforts and its own—for example, by stating that they are engaged in

  the “single business activity” of the manufacture and sale of [a drug product]—‘is not atypical,

  and certainly does not suggest that, via fraud or its equivalent, the parent corporation has become

  indistinguishable from the subsidiary.’” (quoting MacQueen v. Union Carbide Corp., No. 13-831,

  2014 WL 6809811, at *7 (D. Del. Dec. 3, 2014)).

          It is well-settled that Mylan, N.V.’s status as a holding company is not an abuse of the

  corporate form in and of itself. See Horowitz, 2018 WL 1942525, at *9 (stating that a “holding




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  company could simply hold another type of subsidiary” without demonstrating the indicia of an

  alter ego relationship (quoting In re Enter. Rent–A–Car Wage & Hour Emp’t Practices Litig., 735

  F. Supp. 2d at 324)); Transportation Ins. Co. v. Am. Harvest Baking Co., Inc., No. 15-663, 2015

  WL 9049273, at *5 (D.N.J. Dec. 16, 2015) (concurring with the proposition that “in ‘an ordinary

  holding company/subsidiary relationship, not one of undue domination and control,’ there is no

  alter ego relationship” (quoting Arch v. Am. Tobacco Co., Inc., 984 F. Supp. 830, 837-38 (E.D. Pa.

  1997)).

            Finally, although it is true that Mylan Inc.                               the record does

  not indicate it is a sham corporation.                     are not akin to gross undercapitalization.

  See Las Vegas Sands Corp., 713 F.Supp.2d at 445 (stating that a corporation’s “financial health in

  2006 does little to answer the question of whether the corporation was established to defraud its

  creditors or [for] [an] other improper purpose”); see also Laborers' Pension Fund v. Lay-Com,

  Inc., 580 F.3d 602, 612 (7th Cir. 2009) (explaining that undercapitalization is relevant for the

  purposes of veil-piercing because whether a corporation has adequate equity at the time of its

  formation factors into whether it is fair to disregard the limits on liability imposed as a result of

  the corporate form).

                                                       Celgene has provided this Court with no factual

  allegations or arguments from which this Court can discern foul play. It is not the Court’s job to

  independently decipher and draw its own conclusions from exhibits without any direction from

  the party bearing the burden of proof. Accordingly, Celgene cannot impute the proper venue of

  Mylan, N.V. to either of its subsidiaries.




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                     iv. Agila Specialties

         Celgene’s venue argument related to Agila turns on the first prong of 28 U.S.C. § 1400(b);

  that is, venue is proper as to Mylan Inc. and MPI because they are alter egos of Agila, which

  “resides” in this district within the meaning of TC Heartland. Celgene submits that MPI and

  Mylan Inc. are alter egos of Agila based on

                                                         For the reasons set forth above, the Court

  concludes that these assertions, without more, are insufficient to impute Agila’s residence to MPI

  or Mylan Inc.

                     v. Veil-Piercing: Second Prong

         Celgene also fails to establish “that adherence to the fiction of separate corporate existence

  would sanction a fraud or promote injustice.” Linus Holding Corp., 376 F. Supp. 3d at 425

  (quoting State Capital Title & Abstract Co., 646 F. Supp. 2d at 679). For its part, Celgene submits

  that “[f]ailure to find that Mylan Inc. or MPI are alter egos of MLI, Mylan, N.V. or Agila would

  frustrate the underpinnings of the Hatch-Waxman Act”; particularly, the Act’s goal to “‘facilitate[]

  the early resolution of patent disputes between generic and pioneering drug companies.’” Pl.’s Br.

  at 22 (quoting Caraco Pharm. Labs. v. Forest Labs., 527 F.3d 1278, 1283 (Fed. Cir. 2008)). This

  Court fails to see how honoring the Mylan Defendants’ corporate identities and requiring these

  patent suits to be litigated close to their state of incorporation or established place of business

  frustrates the Hatch-Waxman Act or, as Celgene also claims, is tantamount to sanctioning “forum

  shopping.” Id.

         The Federal Circuit has repeatedly emphasized that the very purpose of the patent venue

  statute is to avoid suits from taking place far away from the alleged infringer’s place of business.

  See Google, 949 F.3d at 1346-47; ZTE, 890 F.3d at 1014; Cray, 871 F.3d at 1361. Nothing in the




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  record suggests that the Mylan Defendants, whose presence in New Jersey is limited, are seeking

  to circumvent that statute. Accordingly, Celgene has failed to carry its burden of proving an alter

  ego relationship among the Mylan Defendants and related entities.

                                            *       *       *

         Celgene has failed to establish a prima facie case of proper venue as to MPI and Mylan

  Inc. Neither entity has a regular and established place of business within this district. 7 The claims

  against Mylan Inc. and MPI shall be dismissed for improper venue pursuant to Rule 12(b)(3). 8

  IV.    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM AGAINST MYLAN, N.V. 9

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to state a claim to relief that is plausible on its face.” Mammana v. Fed. Bureau

  of Prisons, 934 F.3d 368, 372 (3d Cir. 2019) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

  “A claim ‘has facial plausibility when the pleaded factual content allows the court to draw the

  reasonable inference that the defendant is liable for the misconduct alleged.’” Sweda v. Univ. of

  Pa., 923 F.3d 320, 325 (3d Cir. 2019) (quoting Thompson v. Real Estate Mortg. Network, 748 F.3d

  142, 147 (3d Cir. 2014)). The plausibility standard is not a “probability requirement”; the well-




  7
     Having concluded that Celgene has not established Mylan Inc. and MPI have a regular and
  established place of business within this district, this Court need not address the parties’ renewed
  arguments concerning the “acts of infringement” component of § 1400(b).
  8
    At oral argument, Celgene stated it does not seek a transfer of this action in the event that the
  Court granted the Mylan Defendants’ Rule 12(b)(3) motion, and that dismissal was appropriate
  remedy. In light of that representation, this Court exercises its discretion to order dismissal in lieu
  of transfer.
  9
     The Mylan Defendants also seek dismissal of the claims against Mylan Inc. on Rule 12(b)(6)
  grounds. Because venue in this district is improper as to Mylan Inc., this Court declines to
  adjudicate that component of the Mylan Defendants’ motion as a matter of comity. See Alpine
  Bus. Grp., Inc. v. Sabathia, No. 10-4850, 2011 WL 589959, at *2 (D.N.J. Feb. 10, 2011).



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  pleaded facts must do more than demonstrate that the conduct is “merely consistent” with liability

  so as to “permit the court to infer more than the mere possibility of misconduct.” Ashcroft v. Iqbal,

  556 U.S. 662, 678-80 (2009). The Court’s analysis involves three steps:

                 First, [the Court] will note the elements of a claim; second, [the
                 Court] will identify allegations that are conclusory and therefore not
                 assumed to be true, and; third, accepting the factual allegations as
                 true, [the Court] will view them and reasonable inferences drawn
                 from them in the light most favorable to [the non-movant] to decide
                 whether they plausibly give rise to an entitlement to relief.

  Sweda v. Univ. of Pa., 923 F.3d 320, 326 (3d Cir. 2019) (internal quotation marks and citations

  omitted). At the final step, the Court “must narrowly confine its inquiry to the allegations of the

  pleadings and their exhibits, matters of public record, and undisputedly authentic documents that

  form the basis of the claims.” EP Henry Corp. v. Cambridge Pavers, Inc., 383 F. Supp. 3d 343,

  348 (D.N.J. 2019).

         “The filing of an ANDA with a Paragraph IV certification constitutes an act of artificial

  patent infringement under 35 U.S.C. § 271(e)(2)(A) . . . .” HZNP Medicines LLC v. Actavis Labs.

  UT, Inc., 940 F.3d 680, 684 (Fed. Cir. 2019). That provision prescribes that

                 [i]t shall be an act of infringement to submit . . . an [ANDA] . . . for
                 a drug claimed in a patent or the use of which is claimed in a patent,.
                 . . . if the purpose of such submission is to obtain approval . . . to
                 engage in the commercial manufacture, use, or sale of a drug,
                 veterinary biological product, or biological product claimed in a
                 patent or the use of which is claimed in a patent before the expiration
                 of such patent.

  35 U.S.C. § 271(e)(2)(A) (emphasis added).

         “An entity submits an ANDA if it participates in the preparation of the ANDA and intends

  to benefit directly from the ANDA by selling the ANDA product upon approval.” Galderma

  Labs., L.P., 290 F. Supp. 3d at 615 (citing In re Rosuvastatin Calcium Patent Litig., 703 F.3d 511,

  528–29 (Fed. Cir. 2012)). The Mylan Defendants argue that Celgene fails to state a claim against


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  Mylan, N.V. because it was not the entity that submitted the ANDA at issue. Accordingly, “[t]he

  key inquiry for the Court is whether the [Complaint] sufficiently alleges that [Mylan, N.V. was]

  ‘actively involved’ in preparing the ANDA, as ‘[p]arties actively involved in preparing the ANDA

  are deemed to have submit[ted] the ANDA.’” Galderma Labs, L.P., 290 F. Supp. 3d at 616 (third

  and fourth alterations in original) (quoting Cephalon, Inc. v. Watson Pharm., Inc., 629 F.Supp.2d

  338, 349 (D. Del. 2009)).      “‘Active involvement’ includes ‘marketing and distributing the

  approved generic drugs in the United States.’” Id. (quoting Cephalon, 629 F. Supp. 2d at 349).

         As the parties point out, this Court is not the first to be faced with the argument that multiple

  entities in a corporate family “submitted” the ANDA. Although the cases are in accord on the

  overarching principles, the outcomes have not been uniform. That is not surprising because each

  decision turns, as it must, on the adequacy of the specific pleading at issue. 10 Compare Galderma

  Labs., L.P., 290 F. Supp. 3d at 616–18 (granting motion to dismiss because the plaintiffs’

  “allegations do not distinguish [the parent company’s] conduct from the [subsidiary ANDA filer’s]

  conduct” and were not “supported by any specific factual assertions that make the allegation more

  than a bare-bones conclusion”) with Cephalon, Inc., 629 F.Supp.2d at 349 (denying motion to

  dismiss because the allegations the defendants “each took part in Generic Division operations and

  contributed employees to the various teams responsible for preparing the ANDA, and employees

  of each prepared and executed ANDA-related documents” were “sufficient to raise [the

  defendants’] active involvement in the preparation of the ANDA above the speculative level”).

  The allegations here are more analogous to Galderma Laboratories, L.P. than Cephalon.



  10
     Accordingly, the Court is not bound by the two unpublished decisions from the United States
  District Court for the Eastern District of Texas, which held that the plaintiffs adequately stated a
  claim against Mylan Inc. See Warner Chilcott Company, LLC v. Mylan Pharmaceuticals, Inc.,
  No. 15-1471, 2017 WL 603309, at *4 (E.D. Tex. Jan. 19, 2017); Allergan, Inc. v. Teva Pharm.
  USA, Inc., No. 15-1455, 2016 WL 1572193, at *5 (E.D. Tex. Apr. 19, 2016).


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         The Court must first discard the conclusory allegations that touch on this issue. See Sweda,

  923 F.3d at 330. These statements include the allegations that “[MPI] acts at the direction, and for

  the benefit, of Mylan, N.V. and Mylan Inc., and is controlled and/or dominated by Mylan, N.V.

  and Mylan Inc.,” Compl. ¶ 77; and Celgene’s allegation that Mylan Inc. and MPI are “agents

  and/or alter egos” of Mylan, N.V., id. ¶ 72. “[A] plaintiff ‘must plead specific facts with respect

  to how the affiliated entities and individuals allegedly controlled or dominated [the defendant]’”

  in order to rely on an alter ego theory. High 5 Games, LLC v. Marks, No. 13-7161, 2019 WL

  3761114, at *6, 12 (D.N.J. Aug. 9, 2019) (quoting Linus Holding Corp, 376 F. Supp. 3d at 427).

  There are no such allegations here.

         The conclusory allegations also include Celgene’s contentions that the Mylan Defendants

  “work in concert with respect to the regulatory approval, manufacturing, marketing, sale, and

  distribution of generic pharmaceutical products,” Compl. ¶ 76, and that “following FDA approval

  of Mylan’s ANDA, [the Mylan Defendants] will work in concert with one another to make, use,

  sell, or offer to sell Mylan’s Proposed Products,” id. ¶ 99. Crediting the unadorned supposition

  that the Mylan Defendants “work in concert” would result in a finding that Celgene stated a claim

  under 35 U.S.C. § 271(e)(2)(A) without any facts that suggest concerted action. Absent from the

  Complaint are any allegations that establish that Mylan, N.V. has any role in the day-to-day

  preparation of ANDAs or marketing and sale of pharmaceutical products—whether as a general

  matter or specific to the ANDA and proposed products at issue. The Court disregards those

  conclusory remarks.

         Beyond recitations concerning the corporate hierarchy of the Mylan Defendants, see

  Compl. ¶¶ 20, 22-24, the remaining allegations are that (1) Mylan, N.V.’s executives “carry out

  the day-to-day conduct of Mylan, N.V.’s worldwide businesses at the company’s principal offices




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  in Canonsburg, Pennsylvania,” id. ¶ 20; (2) the Mylan Defendants collectively filed the ANDA at

  issue, see id. ¶ 98; Pl.’s Br. at 26 (“The Mylan defendants filed Mylan’s ANDA.”); and (3) the

  Mylan Defendants collectively provided the Paragraph IV Certification to the FDA and notice

  thereof to Celgene, see Compl. ¶¶ 100-01.

         The Court takes issue with the latter two allegations. As the documents themselves bear

  out,

                                                                     See Decl. of Sarah A. Siedlak in

  Supp. of Defs.’ Mot., Ex. 4, Apr. 23, 2020, D.E. 688-4; Meckstroth 2nd Supplemental Decl., Ex.

  B, D.E. 688-8. Celgene’s allegations that Mylan, N.V. submitted the relevant documents are

  therefore belied by the content of those documents. “When allegations contained in a complaint

  are contradicted by the document it cites, the document controls.” Jeffrey Rapaport M.D., P.A. v.

  Robin S. Weingast & Assocs., Inc., 859 F. Supp. 2d 706, 714 (D.N.J. 2012). Accordingly, the

  Court does not credit Celgene’s allegations that Mylan, N.V. submitted the ANDA that serves as

  the basis for the infringement claims at issue. 11 Nowhere in the Complaint does Celgene allege

  that Mylan, N.V. prepared the ANDA, or will sell MPI’s pomalidomide product upon its approval.



  11
      The Court also notes that Celgene’s reliance on group pleading is disfavored in this district.
  “Mere ‘conclusory allegations against [d]efendants as a group’ that ‘fail[] to allege the personal
  involvement of any defendant’ are insufficient to survive a motion to dismiss.” 8 Erie St. JC LLC
  v. City of Jersey City, No. 19-CV-9351, 2020 WL 2611540, at *3 (D.N.J. May 21, 2020) (quoting
  Galicki v. New Jersey, No. 14-169, 2015 WL 3970297, at *2 (D.N.J. June 29, 2015)). Facts must
  be alleged that establish each individual defendant’s liability for the misconduct at issue. See id.
  “When a number of defendants are named in a complaint, a plaintiff cannot refer to all defendants
  ‘who occupied different positions and presumably had distinct roles in the alleged misconduct’
  without specifying ‘which defendants engaged in what wrongful conduct.’” 8 Erie St. JC LLC,
  2020 WL 2611540, at *3 (quoting Falat v. County of Hunterdon, No. 12-6804, 2013 WL 1163751,
  at *3 (D.N.J. Mar. 19, 2013)). Normally, the concern with group pleading concerns notice. See
  Yu-Chin Chang v. Upright Fin. Corp., No. 19-18414, 2020 WL 473649, at *3 (D.N.J. Jan. 28,
  2020). That issue is less prevalent when a plaintiff pleads wrongdoing against two entities in the
  same corporate family, as is the case here. Accordingly, Plaintiff’s group pleading is not an
  independent basis for dismissal, but nonetheless is subject to scrutiny when reviewing the factual


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           In the absence of any non-conclusory allegations that establish Mylan, N.V.’s active

  involvement in the preparation of the ANDA and future marketing of the proposed products,

  Celgene has failed to state a claim for relief against Mylan, N.V. These claims are dismissed. 12

  V.       CONCLUSION

           For the reasons stated above, the Court grants the Mylan Defendants’ Motion to Dismiss

  for Improper Venue and Failure to State a Claim. An Order consistent with this Opinion will

  issue.

                                                 s/ Michael A. Hammer
                                                 UNITED STATES MAGISTRATE JUDGE

  Dated: September 2, 2020




  allegations as a whole to determine whether Celgene has adequately pleaded a plausible basis for
  relief.
  12
      Celgene argues in the alternative that the Court should grant it leave to amend the Complaint
  “to add additional allegations regarding the interconnectedness of Defendants, including with
  respect to their involvement in Mylan’s ANDA.” Pl.’s Br. at 28-29. Setting aside Celgene’s failure
  to formally file a cross-motion, see Local Civ. R. 7.1(h), the deadline set in the Pretrial Scheduling
  Order to file any motion to amend has long since expired and Celgene has not offered any grounds
  that demonstrate good cause for modification of that deadline, see Premier Comp Solutions, LLC
  v. UPMC, -- F.3d --, 2020 WL 46682535, at *2 (3d Cir. Aug. 12, 2020) (“[W]hen a party moves
  to amend or add a party after the deadline in a district court's scheduling order has passed, the
  ‘good cause’ standard of Rule 16(b)(4) of the Federal Rules of Civil Procedure applies.”). Indeed,
  Celgene has been on notice that the Mylan Defendants challenged the adequacy of the allegations
  against Mylan N.V. since August 2017, when the Mylan Defendants filed the original motion to
  dismiss. See generally Brief in Support of Mot. to Dismiss at 14, Aug. 9, 2017, D.E. 56-1.


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                  EXHIBIT B




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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  CELGENE CORPORATION,
                                                        Civil Action No. 17-3387 (ES) (MAH)
                              Plaintiff,
                     v.

  HETERO LABS LIMITED, HETERO
  LABS LIMITED UNIT-V, HETERO
  DRUGS LIMITED, HETERO USA, INC.,
  AUROBINDO PHARMA LIMITED,
  AUROBINDO PHARMA USA, INC.,
  AUROLIFE PHARMA LLC, EUGIA
  PHARMA SPECIALTIES LIMITED,
  APOTEX INC., APOTEX CORP.,
  MYLAN PHARMACEUTICALS, INC.,
  MYLAN INC., MYLAN, N.V.,
  BRECKENRIDGE PHARMACEUTICAL,
  INC., and TEVA PHARMACEUTICALS
  USA, INC.,                                                               ORDER

                              Defendants.



        This matter having come before the Court by way of Defendants Mylan Pharmaceuticals

 Inc., Mylan Inc., and Mylan, N.V.’s (the “Mylan Defendants”) renewed Motion to Dismiss for

 Improper Venue and Failure to State a Claim [D.E. 687];

        and the Court having considered the briefing and exhibits submitted in support of, and in

 opposition to, the motion;

        and the Court having held oral argument on August 26, 2020;

        and for the reasons set forth in an Opinion issued on this date;

        and for good cause shown;

        IT IS on this 2nd day of September 2020,




                                            Appx 91
           Case: 21-1154
Case 2:19-cv-05802-ES-MAH Document:
                           Document12
                                    138 Page: 125 Filed:
                                        Filed 09/25/20   01/19/2021
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        ORDERED that the Mylan Defendants' renewed Motion to Dismiss for Improper Venue

 and Failure to State a Claim [D.E. 687] is hereby GRANTED; and it is further

        ORDERED that Celgene's claims against the Mylan Defendants be, and hereby are,

 DISMISSED.

                                            s/Michael A. Hammer
                                            UNITED STATES MAGISTRATE JUDGE




                                          Appx 92
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FORM 19. Certificate of Compliance with Type-Volume Limitations                               Form 19
                                                                                             July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2021-1154

  Short Case Caption: Celgene Corporation v. Mylan Pharmaceuticals Inc.

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

        ✔       the filing has been prepared using a proportionally-spaced typeface
                and includes __________
                               13929     words.

                the filing has been prepared using a monospaced typeface and includes
                __________ lines of text.

                the filing contains __________ pages / __________ words / __________
                lines of text, which does not exceed the maximum authorized by this
                court’s order (ECF No. __________).


        01/19/2021
  Date: _________________                       Signature:        /s/ F. Dominic Cerrito


                                                Name:             F. Dominic Cerrito
              Case: 21-1154         Document: 12     Page: 127     Filed: 01/19/2021



FORM 31. Certificate of Confidential Material                                           Form 31
                                                                                       July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                    CERTIFICATE OF CONFIDENTIAL MATERIAL

             Case Number: 2021-1154

  Short Case Caption: Celgene Corporation v. Mylan Pharmaceuticals Inc.

 Instructions: When computing a confidential word count, Fed. Cir. R.
 25.1(d)(1)(C) applies the following exclusions:

     •   Only count each unique word or number once (repeated uses of the same
         word do not count more than once).

     •   For a responsive filing, do not count words marked confidential for the first
         time in the preceding filing.

 The limitations of Fed. Cir. R. 25.1(d)(1) do not apply to appendices; attachments;
 exhibits; and addenda. See Fed. Cir. R. 25.1(d)(1)(D).


                                96
The foregoing document contains ____________ number of unique words (including
numbers) marked confidential.

                 This number does not exceed the maximum of 15 words permitted by
                 Fed. Cir. R. 25.1(d)(1)(A).

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                 Fed. Cir. R. 25.1(d)(1)(B) for cases under 19 U.S.C. § 1516a or 28
                 U.S.C. § 1491(b).

         ✔       This number exceeds the maximum permitted by Federal Circuit Rule
                 25.1(d)(1), and the filing is accompanied by a motion to waive the
                 confidentiality requirements.
        01/19/2021
  Date: _________________                       Signature:   /s/ F. Dominic Cerrito

                                                             F. Dominic Cerrito
                                                Name:
             Case: 21-1154         Document: 12   Page: 128   Filed: 01/19/2021



FORM 30. Certificate of Service                                                      Form 30
                                                                                    July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF SERVICE

           Case Number 2021-1154
   Short Case Caption Celgene Corporation v. Mylan Pharmaceuticals Inc.


 NOTE: Proof of service is only required when the rules specify that service must
 be accomplished outside the court’s electronic filing system. See Fed. R. App. P.
 25(d); Fed. Cir. R. 25(e). Attach additional pages as needed.

I certify that I served a copy of the foregoing filing on 01/19/2021

by               U.S. Mail            Hand Delivery      ✔ Email        Facsimile
                 Other:

on the below individuals at the following locations.

        Person Served                  Service Location (Address, Facsimile, Email)

Tung-On Kong                       tkong@wsgr.com


Elham F. Steiner                   esteiner@wsgr.com


Kristina M. Hanson                 thanson@wsgr.com




        Additional pages attached.
        01/19/2021
  Date: _________________                   Signature:   /s/ F. Dominic Cerrito

                                            Name:        F. Dominic Cerrito
